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                         EXHIBIT 1
                          Declaration of Ari S. Bargil
                 in Support of Plaintiffs’ Dispositive Motion for
             Summary Judgment and Incorporated Memorandum of Law
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
                          CASE NO.: 8:19-cv-01210
                      STATE CT. CASE NO.: 19-003181-CI

          - - - - - - - - -               --X -
          JAMES FICKEN, trustee,            :
          SUNCOAST FIRST TRUST; and         :
          SUNCOAST FIRST TRUST,             :
                                            :
                         Plaintiffs,        :
          vs.                               :
                                            :
          CITY OF DUNEDIN, FLORIDA;         :
          DUNEDIN CODE ENFORCEMENT BOARD;   :
          MICHAEL BOWMAN, in his official   :
          capacity as Code Enforcement      :
          Board Chairman; LOWELL SUPLICKI, :
          in his official capacity as Code :
          Enforcement Board Vice-Chair;     :
          ARLENE GRAHAM, in her official    :
          capacity as a member of the Code :
          Enforcement Board; KEN CARSON, in :
          his official capacity as a member :
          of the Code Enforcement Board;    :
          WILLIAM MOTLEY, in his official   :
          capacity as a member of the Code :
          Enforcement Board; DAVE PAULEY,   :
          in his official capacity as a     :
          member of the Code Enforcement    :
          Board; and BUNNY DUTTON, in her   :
          official capacity as a member of :
          the Code Enforcement Board,       :
                                            :
                         Defendants.        :
          - - - - - - - - - - - -X

                DEPOSITION OF:           THOMAS COLBERT
                DATE:                    February 19, 2020
                TIME:                    1:00 p.m. to 4:50 p.m.
                                         Pages 1 - 158




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   1            PLACE:                   1001 S. Fort Harrison Ave.
                                         Suite 201
   2                                     Clearwater, Florida
   3
                PURSUANT TO:             Notice by counsel for
   4                                     Plaintiff for purposes
                                         of discovery, use at trial
   5                                     or such other purposes as
                                         are permitted under the
   6                                     Florida Rules of Civil
                                         Procedure
   7
   8            BEFORE:                  KATHERINE A. LYLE
                                         Notary Public, State of
   9                                     Florida at Large
  10
  11                               * * * * *
  12
  13       APPEARANCES:
  14            ARI S. BARGIL, ESQUIRE
                ANDREW WARD, ESQUIRE
  15            Institute For Justice
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  24
  25                               * * * * *




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   1                               I N D E X

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   3       DIRECT EXAMINATION BY MR. WARD                              4

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  10

  11

  12

  13                               * * * * *

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  16

  17

  18                                EXHIBITS

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   1                            THOMAS COLBERT,

   2       was called as a witness, having been duly sworn, was

   3       examined and testified as follows:

   4                           DIRECT EXAMINATION

   5       BY MR. MORA:

   6            Q     Good afternoon, Mr. Colbert.

   7            A     Good afternoon, sir.

   8            Q     Thank you.

   9                  My name is Andrew Ward.       I'm an attorney

  10       with Institute for Justice.      This is my colleague

  11       Ari Bargil.     We represent the Plaintiffs in this

  12       case which is a challenge to code enforcement fines

  13       levied against Jim Ficken.      Please speak loudly and

  14       clearly for the microphone.

  15            A     Okay.

  16            Q     Would you please say and spell your name.

  17            A     Thomas Colbert, C-o-l-b-e-r-t.       First name

  18       is Thomas, T-h-o-m-a-s.

  19            Q     And you work for the City of Dunedin; is

  20       that correct?

  21            A     I, I guess you could say, retired in

  22       December of 2019.

  23            Q     But did you work for the City of Dunedin?

  24            A     Oh, yes, I did.     I'm sorry.

  25            Q     What was your title when you worked there?




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   1            A     The Code Enforcement Inspector.

   2            Q     Have you ever been deposed before?

   3            A     Many times.

   4            Q     Could you tell me a little bit more about

   5       those times.

   6            A     I was a police officer of the State of

   7       Florida for just under 30 years.

   8            Q     And I take it then that you were deposed

   9       in connection with those cases?

  10            A     Yes, sir.     I worked for the Pinellas

  11       County Sheriff's Office for just under 10 years, I

  12       retired from the Florida Department of Law

  13       Enforcement as a Special Agent for 20 years,

  14       retiring in 2008.

  15            Q     So you're pretty familiar with how

  16       depositions work?

  17            A     Yes, sir.

  18            Q     Are you under the influence of any drug or

  19       medication that might impair your ability to

  20       testify?

  21            A     No, sir.

  22            Q     Do you have any medical conditions that

  23       might impair your ability to testify?

  24            A     No, sir.

  25                  MR. MORA:     Just as a piece of advice to




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   1            make today go a little more smoothly, a lot of

   2            the questions it's going to be painfully

   3            obvious where he's going.       Just wait until he

   4            gets to the exact end for the sake of the nice

   5            woman at the end of the table.

   6                   THE DEPONENT:    Okay.

   7                   MR. MORA:    You're doing fine.     Just wait

   8            until that period at the end or the question to

   9            end.

  10                   MR. WARD:    I will skip that instruction.

  11            I apologize for any pains at the obviousness of

  12            my questions.

  13                   MR. MORA:    I didn't mean that as an insult

  14            to you.     I say that about myself as well.

  15                   MR. WARD:    I understand.

  16       BY MR. WARD:

  17            Q      Do you understand that you are testifying

  18       under oath the same as if you were in front of a

  19       judge and jury in a courtroom?

  20            A      Yes, I do.

  21            Q      I will make my instructions brief since I

  22       know you're familiar.

  23                   I will be asking questions.       You answer

  24       the questions.     The court reporter will record my

  25       questions and your answers.      It is very difficult




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   1       for them to record nods or "uh-huhs" or things that

   2       we do in ordinary conversation that aren't verbal

   3       oral answers.        So please make sure that you are

   4       answering out loud in words.        I might interrupt you

   5       if you don't do that, but I will try to make that

   6       the only times I interrupt you.        I will let you

   7       answer the questions, and please wait for me to ask

   8       the questions before you answer.           It's tough when we

   9       crosstalk.

  10                    Does that all make sense?

  11            A       I understand.     Yes, sir.

  12            Q       If I ask a question and you don't

  13       understand it, please just let me know.           We are

  14       trying to find out information.        We are genuinely

  15       not trying to trick you into giving answers or

  16       anything.     We're just looking for information and

  17       we're looking for full and complete answers to the

  18       questions.

  19                    Does that make sense?

  20            A       Yes.

  21            Q       If you don't understand, let me know.         I

  22       will try to ask a better question.

  23                    Will you do that?

  24            A       Okay.     Yes, sir.

  25            Q       If you do answer a question as I ask it,




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   1       I'm going to think you understood it.

   2                    Does that make sense?

   3            A       Yes, sir.

   4            Q       I might ask you questions about specific

   5       documents.     The court reporter will mark those as

   6       exhibits.     We might talk about those by number.

   7       I'll give copies to you and to your attorney and you

   8       can take your time to look it over.

   9                    Does that make sense?

  10            A       Yes, sir.

  11            Q       I'm sure Mr. Mora will state objections

  12       after I ask some of my questions.       That's because

  13       those objections need to be preserved for later

  14       since there is no judge to rule on them now.

  15                    Do you understand that when Mr. Mora

  16       objects that doesn't excuse you from answering the

  17       question?

  18            A       Yes.   I understand.

  19            Q       He might expressly instruct you not to

  20       answer.     In which case I won't tell you whether you

  21       need to follow your attorney's advice or not, but,

  22       unless he does that, you do need to answer the

  23       questions.

  24            A       Yes, sir.

  25            Q       If you need to take a break at any time,




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    1       please just let me know.     I would ask that you

    2       finish answering a question that's pending, but,

    3       other than that, you're welcome to take a break at

    4       any time.    I like the take breaks about every hour

    5       or so anyway.

    6                   Does that make sense?

    7            A      Yes, sir.

    8            Q      Two other things.    If I'm talking about

    9       "the City," I mean the City of Dunedin unless we're

   10       obviously talking about something else from context.

   11       If I say "the City," I mean the City of Dunedin.         If

   12       I'm talking about "the Board," I'm probably talking

   13       about the Dunedin Code Enforcement Board.

   14                   Does that make sense?

   15            A      Yes, sir.

   16            Q      So what, if anything, have you done to

   17       prepare for this deposition?

   18            A      Not much.   I received a bunch of documents

   19       from the City Attorney's Office, but I did not

   20       review them.

   21            Q      Okay.   So did you do anything to prepare

   22       for this deposition?

   23            A      No.

   24            Q      Okay.   You did not review any documents,

   25       including the ones that were sent to you by the




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    1       City's attorneys?

    2            A       Correct.

    3            Q       And then I also take it that you didn't

    4       talk to anyone to prepare for this deposition?

    5            A       No.     With the exception of the attorneys

    6       here; is that what you're talking about, the City

    7       attorneys?

    8            Q       I'll break it up.

    9            A       Okay.

   10            Q       To prepare for this deposition, did you

   11       talk to anyone other than the City's attorneys?

   12            A       No.

   13            Q       Okay.     To prepare for this deposition, and

   14       I'm not asking you what you talked about with them

   15       if you did, but did you talk to the City's

   16       attorneys?

   17            A       Yes.

   18            Q       When did you do that?

   19            A       Just prior to today's appointment.

   20            Q       Did you speak to Mr. Mora?

   21            A       Yes.

   22            Q       Did you speak to anyone else?

   23            A       No.

   24            Q       How long did you and Mr. Mora talk?

   25            A       Five minutes, maybe.




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    1            Q     Okay.     You said you didn't speak to anyone

    2       else, so no one who works for Dunedin or used to

    3       work for Dunedin or for the Code Enforcement Board

    4       or used to work for the Code Enforcement Board?

    5            A     No.

    6            Q     Family, friends?

    7            A     No.

    8            Q     Nobody else?

    9            A     No.

   10            Q     Okay.     And you didn't read any documents?

   11            A     No, I did not.

   12            Q     Just in case this means something

   13       different to you, did you review any documents?

   14            A     No.     I got a pretty good memory of the

   15       case and my involvement, so I think that's kind of

   16       my mindset.

   17            Q     Okay.     I'll do a little background and get

   18       to know who you are.

   19                  Did you graduate from high school?

   20            A     Yes.

   21            Q     When was that?

   22            A     1972.

   23            Q     Did you go to college?

   24            A     I attended college.     I never graduated.

   25            Q     Which college did you attend?




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    1            A     St. Petersburg Junior College.

    2            Q     Any others?

    3            A     No.   Yeah.   I take that back.     Prior to

    4       that, many years prior, Tunxis Community College in

    5       Connecticut, but that was many years ago.        That was

    6       prior to my law enforcement career.

    7            Q     I actually just didn't hear you.

    8                  Did you say Texas Community College?

    9            A     Tunxis, T-u-n-x-i-s, Community College.

   10       It's in Connecticut.

   11            Q     Did you have any particular field of study

   12       at that college in Connecticut?

   13            A     Criminal justice.

   14            Q     Anything else?

   15            A     No.

   16            Q     And did you have any particular field of

   17       study at the other college that you mentioned here

   18       in Florida?

   19            A     Criminal Justice.

   20            Q     Anything else?

   21            A     No.

   22            Q     And you said you didn't graduate from

   23       either of those schools?

   24            A     Correct.

   25            Q     Did you work full time before going to




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    1       either of those schools?

    2               A   Yes.

    3               Q   What did you do?

    4               A   Going how far back?

    5               Q   Let's say since you graduated from high

    6       school.

    7               A   I worked in the grocery business.         I was a

    8       produce manager for ShopRite Supermarkets.        I

    9       started part time in high school.       I became a

   10       produce manager.

   11               Q   And when did you do that until?

   12               A   Probably until I moved to Florida in

   13       probably 1976, 1977.

   14               Q   Were you attending college during that

   15       time?

   16               A   I think while I was working in Connecticut

   17       for a short period of time, yes.

   18               Q   And what did you do next, whether it was a

   19       different job or college, in 1976 after you left the

   20       supermarket?

   21               A   Well, the law enforcement jobs in

   22       Connecticut at that time were difficult to find due

   23       to the Vietnam veterans and that type of thing.              I

   24       did have some relatives that lived in Florida.           I

   25       was familiar with the jobs that were available in




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    1       the law enforcement community.      So that's why I

    2       decided to move to Florida to pursue that career.

    3            Q     So you were thinking of pursuing a law

    4       enforcement career while you were in Connecticut, it

    5       was hard to get a job there because positions were

    6       being taken by Vietnam veterans, so you decided to

    7       pursue that career in Florida?

    8            A     It was difficult to find a job up there,

    9       like I said.   I had family members that were in law

   10       enforcement.   I always wanted to be a police

   11       officer.   So that's my answer, yes.      That's correct.

   12            Q     So, after you moved to Florida, it's

   13       around 1976, what did you do next?

   14            A     Menial jobs.    Construction, landscaping,

   15       worked for Publix Supermarket.      Until I was hired I

   16       worked for the Juvenile Detention Center for about a

   17       year, and then shortly after that I got a job with

   18       the Pinellas County Sheriff's Office.

   19            Q     Is that when you went to college in

   20       Florida during the time period you just mentioned?

   21            A     I think I attended St. Pete J.C. while I

   22       was employed by the Sheriff's Office for a short

   23       period of time.

   24            Q     About when was that?

   25            A     I don't recall what year.




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    1              Q     Late '70s, early '80s?

    2              A     Could be.

    3              Q     Okay.   So you were working for the -- I"m

    4       sorry.     Which county?

    5              A     Pinellas County Sheriff's Office.     Yes,

    6       sir.

    7              Q     How long did you do that?

    8              A     I started -- I worked for one year in the

    9       Pinellas County Jail, which at the time there was

   10       only one jail right down the street at Court Street.

   11       I did that for one year.      I then was accepted to the

   12       police academy.      I went to the police academy, and

   13       upon graduation from the police academy I worked in

   14       patrol for three years.      In 1982 I went to vice and

   15       narcotics and worked there until 1987.       At which

   16       time I went to the Florida Department of Law

   17       Enforcement.

   18              Q     Okay.   What did you do at the Florida

   19       Department of Law Enforcement?

   20              A     Long-term narcotics cases, smuggling

   21       cases, a variety of things.      Dignitary protection.

   22       We were responsible protecting the Governor and his

   23       family and other dignitaries.      White-collar crimes,

   24       fraud, government corruption cases, fugitive cases.

   25       It varied day by day.      So those are kind of a brief




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    1       overview of the cases that I worked.

    2            Q       Why did you decide to leave the first law

    3       enforcement job to go to Florida State law

    4       enforcement job?

    5            A       Well, I'll tell you a quick story on that.

    6       It's going to revert back to my views on ethics,

    7       credibility and reputation.      To kind of cut the

    8       story short, the Chief Deputy at the time was a

    9       gentleman named Jack Brady.      He was a retired

   10       New York City detective, at the time D&D which

   11       became Drug Enforcement Administration.        He left

   12       there under a workmen's comp deal, whatever.        That's

   13       another story.

   14                    He had a son who came on to the Sheriff's

   15       Office right out of the marine corp, worked his way

   16       up from deputy to ultimately lieutenant in a very

   17       short period of time.     He became a sergeant in the

   18       narcotics unit that I was in.      I didn't work under

   19       his squad.

   20                    On one particular evening on a buy bust we

   21       had -- it was a trafficking in cocaine case which we

   22       did lots of them back then.      I was assigned to go on

   23       this case with them.     Sergeant Brady, the son of the

   24       Chief Deputy, we went to arrest two individuals, and

   25       he had a shotgun that was approaching one of the




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    1       subjects, they weren't resisting, and he hit him in

    2       the head with a shotgun.     I have a serious problem

    3       with that.     That made it very uneasy for my career

    4       there because not only did the Chief Deputy work

    5       there, but he had a brother that was a lieutenant in

    6       the same unit and, of course, the Sergeant.

    7                    That evening I got called upstairs along

    8       with the rest of us that were on that arrest.

    9                    He said, "Come on upstairs.     We need to

   10       get our stories straight."

   11                    It was rather intimidating.

   12                    He went around the room and said,

   13       "Everybody saw this guy jump on Randy's back,

   14       right?"

   15                    I'm probably going off on a tangent here,

   16       but this is the reason why I left.       I didn't have to

   17       leave, but I didn't want to work under those

   18       circumstances, plus I was kind of offered a job.

   19                    Anyhow, they went around the table and,

   20       like I said, the Sergeant was there, the Chief

   21       Deputy's son, and his brother, and they said

   22       "everybody saw this guy jumped on Randy's back."

   23                    Of course, I'm like, "No.     It didn't

   24       happen."

   25                    That kind of escalated into being told




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    1       that my career was done, many contacts with the

    2       State Attorney's Office over this case.          So I

    3       basically ended up telling the Lieutenant that I

    4       wasn't going to lie for him, his nephew or anyone

    5       else that works here, period.          So that's kind of why

    6       I left.

    7            Q       Has that sort of thing, someone you worked

    8       with asking you to get a story straight, ever

    9       happened to you in any other jobs?

   10            A       No.     Never.

   11            Q       How long did you work for the State of

   12       Florida as a police officer?

   13            A       Twenty years special agent.

   14            Q       So when did you leave?

   15            A       2008.

   16            Q       Why did you decide to leave?

   17            A       Retired.     Just under 30 years total.      I

   18       was eligible for retirement.          Actually, you're

   19       vested, I think, at that time 10 years, but full

   20       retirement at 25 years.          So I was well beyond that

   21       point.     With FDLE I could speak specifically.         They

   22       did a bunch of cuts.          They were closing a lot of our

   23       offices.     Like I said, I work primarily drug cases.

   24       They were cutting back on our funds to do those

   25       cases, our aircraft that we would use, tools that we




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    1       would use to work those cases.       It just seemed to be

    2       that at the time the time was right and that's why I

    3       retired.

    4            Q      What did you do after that?

    5            A      I went to work for Publix for a short time

    6       or actually for several years.       I worked in the

    7       produce department.       I got a paid aerobic workout,

    8       like I like to call it.       I did that for several

    9       years.

   10            Q      What did you do after that?

   11            A      I went to the City of Dunedin and got a

   12       job as a Code Enforcement Inspector.

   13            Q      So have you worked for any code

   14       enforcement departments other than the City of

   15       Dunedin?

   16            A      I have not.

   17            Q      Other than the police jobs that you just

   18       mentioned, have you ever worked for any municipal

   19       governments?

   20            A      No.

   21            Q      When did you start with the City of

   22       Dunedin?

   23            A      I'm not good with the years, but I think

   24       that would have been five years coming up this April

   25       or May.    So whatever that comes out to.




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    1            Q     Well, it's 2020, so I think you're

    2       describing then April or May of 2015; does that

    3       sound right?

    4            A     That sounds about right, yes.

    5            Q     Why did you decide to take that job?

    6            A     I was offered the job.        I got a contact to

    7       call from Joan Kale who I worked with at FDLE.         She

    8       said there was a job opening coming up that I may be

    9       interested in.      So that's how I ended up there.

   10            Q     Did you see it similar to policing?

   11            A     Oh, yeah.     In a way.     You're doing

   12       enforcement.      You're interacting with the public on

   13       a daily basis, hourly basis.         So, yeah, it was very

   14       similar.   Yes.

   15            Q     And did you do that full time?

   16            A     Yes.

   17            Q     9:00 to 5:00 Monday through Friday?

   18            A     8:00 to 4:30, roughly.        It kind of varied,

   19       those hours, sometimes.

   20            Q     So what was a typical day like?

   21                  MR. MORA:     Form.

   22                  THE DEPONENT:     A typical day.     Check your

   23            emails, check your voice mails, return phone

   24            calls, return emails and then respond to

   25            complaints, do paperwork periodically, back to




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    1            the office, write violation notices, do

    2            paperwork-type cases.     That's pretty much it.

    3       BY MR. WARD:

    4            Q     Did you mention in that last answer, I

    5       don't think you did, any sort of patrolling?

    6            A     We would do -- like if we got a complaint

    7       on a street for whatever violation, we would

    8       typically do that entire street to be fair and maybe

    9       a couple of other streets that are in the area

   10       because there usually are other code enforcement

   11       violations.     Plus, driving around through the course

   12       of our day we would see violations and respond and

   13       act on those.

   14            Q     So it sounds like for the most part when

   15       you went out to look at properties it was because of

   16       a complaint, you didn't do sort of standard daily or

   17       weekly rounds?

   18            A     Oh, no.    There were several -- I mean, we

   19       would self generate cases also, but many of them

   20       were complaint driven.

   21            Q     I think I asked something slightly

   22       different which was whether you sort of patrolled on

   23       any sort of regular basis?

   24            A     I don't want to call it "patrolling."        I

   25       would call it driving through the city as normal




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    1       course of our duties.

    2            Q     I'm just trying to understand if that was

    3       part of the other duties you're describing, going

    4       out to respond to complaints, or if you had a

    5       routine where you would go out just to see if there

    6       were violations without needing to go out for

    7       another reason?

    8            A     Well, yeah.    My job varied.    We were

    9       tasked with enforcing code enforcement rules and

   10       regulations, so that would involve driving

   11       throughout the city of Dunedin.

   12            Q     And about how often did you do that?

   13            A     Oh, that was daily.

   14            Q     I'm just not sure I'm -- seriously.        I'm

   15       just not sure I understand correctly.

   16            A     Okay.

   17            Q     So you did go on daily patrols or you went

   18       out every day, but not to sort of patrol around?

   19            A     I was in my car every day driving through

   20       the neighborhoods making cases, responding to

   21       complaints, driving through various parts of

   22       Dunedin.

   23            Q     So let's say you go and you see what you

   24       believe to be a violation.

   25            A     Uh-huh.   (Indicates affirmatively).




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    1            Q      What did you typically do?

    2            A      Take a photograph, document the address,

    3       go back to the office, type up cases, look at the

    4       history of that property and, if warranted, mail a

    5       violation notice.

    6            Q      Did you keep a record of complaints that

    7       you received?

    8            A      No.

    9            Q      So, if we wanted to, say, know about

   10       complaints in this particular case, is there

   11       somewhere we could go to get those or learn more

   12       about them?

   13                   MR. MORA:   Form.

   14                   THE DEPONENT:   No.    You have to understand

   15            we receive a lot of phone calls everyday, a lot

   16            of emails every day.       Obviously the emails can

   17            be tracked.     If we were to log every phone call

   18            and write some sort of document, we would never

   19            leave the office, never have time to do our

   20            job.     It would just be an added, I don't know,

   21            duty that would be difficult to do.

   22       BY MR. WARD:

   23            Q      How much time do you think it would have

   24       taken to log all the complaints?

   25            A      I don't know.   I have no idea.




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    1               Q      An hour a day?

    2               A      It would vary.      I mean, some days it would

    3       be quiet.       Some days we would be busy.      So every day

    4       would be different, really, you know.

    5               Q      So you talked about sending out a notice

    6       of violation if it was warranted.

    7                      When would you send that out?

    8                      MR. MORA:   Form.

    9                      THE DEPONENT:    Usually either the same day

   10               or the next day or within the next few days.

   11               We would try to do it pretty quickly.

   12       BY MR. WARD:

   13               Q      What do you mean by "the next few days"?

   14               A      Two or three days, four days.      Dependent

   15       upon how many -- like I said, some days you will go

   16       out and you will maybe, you know, note 10 different

   17       violations.       So you may not get to them that day or

   18       the next day.       It might be the day after type thing.

   19       It would vary.

   20               Q      What did you see as the point of your job?

   21               A      To maintain -- I'm trying to think of the

   22       word.       To maintain property values, to maintain --

   23       yeah.       Maintain property values.      Make sure that

   24       people that work hard for their properties and

   25       maintain them, make sure that people are maintaining




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    1       their homes to ensure that their property values are

    2       maintained.

    3            Q       Did you ever receive any instruction about

    4       the amount of cases you should be opening?

    5            A       Never.

    6            Q       How about the amount of warnings you

    7       should give?

    8            A       No.     Never.   It was a judgment call.   Many

    9       times -- I mean, these are other things that we

   10       didn't document because it just would have been not

   11       realistic.     If we were observing a property and a

   12       property owner came out "hey, what are you doing,"

   13       we would explain to them what we were doing and say

   14       "hey, we're here because of this, can you take care

   15       of this, okay, see you later, goodbye."

   16                    A lot of times I would joke "good, you're

   17       saving me paperwork, thank you, have a nice day."

   18                    So there were a lot of those cases too.       I

   19       don't know if I answered your question or not.

   20            Q       I think you did, but just to be safe --

   21            A       Okay.

   22            Q       Did anyone ever instruct you to bring more

   23       cases?

   24            A       Not at all.

   25            Q       To send more cases to the Code Enforcement




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    1       Board?

    2              A       Not at all.   Never.

    3              Q       To get more liens imposed?

    4              A       Not at all.

    5              Q       To bring in more revenue?

    6              A       Never.   Never came up.

    7              Q       A moment ago you mentioned "discretion."

    8                      Was it in your discretion whether to issue

    9       someone a warning or issue a notice of violation?

   10              A       Well, first of all, if I send someone a

   11       violation notice, if I couldn't raise my right hand

   12       to it and testify truthfully to it, I would not mail

   13       the letter.       If it wasn't a case where I could prove

   14       it up, testify to it truthfully, I would not mail

   15       the letter.       There are times, many times, when I

   16       sent a courtesy notice as we call it to a property

   17       for certain violations.

   18                      I did answer your question on that one

   19       too?       I'm not sure.

   20              Q       We'll go back.

   21              A       Okay.

   22              Q       What do you mean by testify truthfully to

   23       it?

   24              A       If I can't prove it up and testify to it,

   25       it doesn't go out, it doesn't get mailed out.         Just




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    1       like an arrest, the probable cause arrest.        I'm

    2       referring back to my career.      If I didn't have

    3       enough to arrest somebody, I wouldn't make the

    4       arrest.    Same scenario.   That's kind of how I judged

    5       it.

    6              Q     When you say "prove it up," do you mean be

    7       able to present evidence besides your testimony?

    8              A     Both.

    9              Q     So you normally tried to have enough

   10       evidence to be able to prove a case was there on top

   11       of being able to testify to it?

   12              A     Correct.

   13              Q     It sounds like you've talked about the

   14       value of testifying.     I assume you can always

   15       truthfully to things.

   16                    The question I was asking a moment ago was

   17       about the discretion whether to issue a notice of

   18       violation.

   19                    Did you have discretion whether to issue

   20       one?

   21              A     Yes.

   22              Q     What factors did you consider when

   23       exercising that discretion?

   24              A     We've had several cases, elderly folks who

   25       just could not -- did not have the means of support




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    1       financially, family, et cetera, to maintain their

    2       homes.     They may have not had a prior code

    3       enforcement history there.       I could think of

    4       several.     I can't give you addresses or whatever,

    5       but I can think of several that came into play over

    6       the years where we had a lot of contact with those

    7       particular property owners and we would try to help

    8       them in getting their grass cut, getting their trees

    9       trims by various volunteer groups.

   10                    Some of these people, one in particular,

   11       she basically is an invalid, lives by herself, has

   12       to family in the area, very little financial means.

   13       So those are the cases that I would say a lot of

   14       discretion comes into play.

   15            Q       Would you issue a notice of violation if

   16       someone didn't meet the factors you just discussed,

   17       to someone who is not sort of an elderly

   18       impoverished person?

   19                    MR. MORA:   Form.

   20                    THE DEPONENT:   Yes.   The thing is, once we

   21            mail a letter, we hope, as the letter states,

   22            that they would call us to open up the line of

   23            communication.      Many times we would then -- you

   24            know, everybody has a story, right.        Everybody

   25            has health issues, financial issues, employment




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    1            issues, and we got to see all of those sad

    2            stories, a lot of them.

    3                   So, you know, hopefully the way we looked

    4            at it was, if someone made that phone call to

    5            open up that line of communication, we could

    6            discuss how to resolve the matter, maybe get

    7            them some help through various volunteer groups

    8            that we worked with along those lines, and go

    9            forward.

   10       BY MR. WARD:

   11            Q      Did you have the ability to send out a

   12       crew to mow lawns?

   13            A      Yes.

   14            Q      How did that work?

   15            A      Well, that's kind of a -- there are

   16       several variations on that.       Actually, I

   17       participated in one cleaning up a property, elderly

   18       couple.    We have a contract mower that we would use.

   19       Sometimes we would use him or sometimes we would

   20       contact various volunteer groups that we would work

   21       with to assist these folks.

   22                   The problem we run into is that, you know,

   23       a lot of these people their pools are in disrepair,

   24       their roofs.       We didn't really have the capability

   25       to assist those folks in that manner.       It was




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    1       mainly, you know, cutting grass, light tree

    2       trimming, that type of thing, you know, trash

    3       cleanup and so forth.

    4            Q      So you did have the ability to get lawns

    5       cut if you needed to?

    6            A      Yes.

    7            Q      Do you know how much it cost to have a

    8       lawn mowed?

    9            A      I do not.

   10            Q      I just want to make sure.     I don't know if

   11       that question was clear.

   12                   Do you know how much it cost when you had

   13       a service go out to mow a lawn?

   14                   MR. MORA:   Form.

   15                   THE DEPONENT:   I do not.

   16       BY MR. WARD:

   17            Q      Who would know that?

   18            A      Joan McHale because the invoices were sent

   19       to her.    I was very cautious about using that being

   20       a taxpayer.    I was very cautious about using

   21       taxpayer funds to maintain private properties.

   22            Q      Could you have billed the owner for the

   23       service?

   24            A      I'm not sure.   I don't know.

   25            Q      When did you leave the Dunedin Code




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    1       Enforcement staff?

    2               A      Early December of 2019.

    3               Q      Why did you leave?

    4               A      Several reasons.     I'll start with the most

    5       recent and work my way back.          The most recent was I

    6       cited a property owner for a boat.          Again, in my

    7       view with code enforcement, these were all very

    8       simple issues to resolve, but it always amazed me

    9       how upset people would get with those.          It was a

   10       boat.       It was going to the Code Enforcement Board

   11       hearing because they didn't comply.          It had been

   12       there for a couple of months, three months,

   13       whatever.

   14                      I got a call from a young man who didn't

   15       provide me his name.       He said he was calling on

   16       behalf of his grandmother's property.          He said he

   17       was calling about the boat.          I said okay.     It's very

   18       simple.       Like I always do, I explained the rules.

   19       You can have it there on the weekends.          Get it

   20       removed.       If you get it removed, we possibly could

   21       take it off of the code enforcement agenda.

   22                      He then goes off on several of the people

   23       that he knows that have been cited by code

   24       enforcement.       They don't agree with it.        They don't

   25       live in gated communities, it's not an HOA.             A very




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    1       angry young man.

    2                    Then while he was speaking he said, "While

    3       I have you on the phone, there is a rumor going

    4       around that you're taking $250-a-day fines from

    5       people, you're pocketing them."

    6                    I took great offense to that, great

    7       offense.

    8                    I said, "Let me tell you something.      You

    9       need to call the Pinellas County Sheriff's Office,

   10       Florida Department of Law Enforcement and the FBI,

   11       either one or all of the above."

   12                    Prior to that, after he made that

   13       accusation, I said, "That must be why I have a

   14       Ferrari and a 72-foot yacht that I don't have."

   15                    That's when I said he needed to contact

   16       law enforcement.

   17                    That really bothers me.    That wasn't the

   18       first time.

   19                    So I sent an email to my supervisors to

   20       include the City Manager.      I was subsequently called

   21       in by my boss, Greg Rice, and said the City Manager

   22       didn't appreciate your email, and we talked about

   23       the email.

   24                    I said, "About the corruption?"

   25                    He goes, "No.   About where you joked about




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    1       the Ferrari and the yacht or whatever."

    2                  I said, "Well, what about the corruption

    3       allegation?"

    4                  And this has come up several times before.

    5       Especially with my background and the type of person

    6       that I am, if you accuse a government official of

    7       corruption, and I have worked those cases

    8       personally, those should be investigated because if

    9       they're not it's a tasset admission that involves

   10       everybody that works for the City that they are

   11       agreeing with that person making that allegation.

   12                  I took great offense to that.       That wasn't

   13       the first time.    The City Manager and others in the

   14       chain of command didn't agree with that view, didn't

   15       have that take on it that I had.

   16            Q     It sounded like you said -- actually, I am

   17       not accusing you, but, since you brought it up, were

   18       you pocketing code enforcement fines?

   19            A     Not at all.    Not at all.

   20            Q     Okay.

   21            A     I've put people in jail for that.       I take

   22       that very seriously and certainly do not want to be

   23       accused of that.    That's one of the reasons why I'm

   24       not working there anymore.

   25            Q     You said there were several reasons.




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    1               A      Yes.

    2               Q      What are the others?

    3               A      We'll talk about this case.    The threats

    4       that I received in this case from the fake news

    5       reporting on this case.       Threats, email, telephone

    6       calls, voice mail throughout the United States and

    7       overseas, serious threats.

    8                      In my previous life as a law enforcement

    9       officer, I've arrested many people for a lot of

   10       things, minimum mandatory drug laws, homicide.

   11       Never have been threatened ever.       This case got my

   12       attention, and to this day it has my attention.

   13                      When you have people calling you telling

   14       you that they're coming to your house, they're not

   15       coming to bring you milk and cookies or shake your

   16       hand.       So that was one of the reasons.

   17                      I did not get the support, I feel -- I

   18       feel I did from Greg Rice who is my supervisor, but

   19       I think it stopped at him.       I did not get the

   20       support.

   21                      Along those lines, I saved many voice mail

   22       messages that I thought were very threatening in

   23       nature.       I was told to provide those to IT so that

   24       they could provide them to the Sheriff's Office.

   25       They were running an intel report should something




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    1       happen, which I did, and that was never done.           Those

    2       calls were never provided to me or to the Sheriff's

    3       Office by our IT department.

    4                    I do know that the Mayor received threats

    5       from this.     She had a deputy sheriff parked on her

    6       street during this.     I didn't have one.

    7                    Continuing on another reason.     Let me

    8       think here.     I had another one just prior to that

    9       where I cited a problem house in Dunedin, drug

   10       house.     A lot of arrests, a lot of complaints from

   11       neighbors.     I get a call from the City Manager about

   12       this house.

   13                    "You cited this guy George."

   14                    "Yeah."

   15                    "Is there something we can do to help

   16       him?"

   17                    "Help him do what?   There are people being

   18       arrested in there for drugs.      The police are there a

   19       lot."

   20                    "Well, he's a friend of the Mayor's from a

   21       bar that she goes to."

   22                    It kind of caught me off guard, the phone

   23       call.

   24                    I said, "Well, I cited the property for

   25       this."




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    1                  "Well, I just wondered if we should talk

    2       to him and try to help him."

    3                  I said, "Well, I don't think I can help

    4       anybody that's selling drugs out of a house where

    5       the police are there nonstop.      I don't think that's

    6       our role to help them in that regard."

    7                  So that was another issue of concern.

    8            Q     Anything else?

    9            A     That's kind of it.     I mean, there were

   10       some other allegations.     I mean, this case brought

   11       up all sorts of erroneous false allegations

   12       attacking my credibility, my reputation, and that's

   13       why I wasn't going to continue to work there because

   14       to me reputation, credibility and ethics are very

   15       important to me.

   16            Q     For what it's worth, I honestly mean this,

   17       I'm sorry you got threats.      I think we have a court

   18       system to resolve disputes, and that's the way

   19       things like this should be handled.

   20            A     Thank you.

   21            Q     I just want to confirm.

   22                  I don't have any reason to think this, but

   23       did you resign rather than be fired?

   24            A     I was not offered -- it was on my own

   25       account.   No one said anything, you know, other than




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    1       what I just told you what Greg Rice said about that

    2       email.     I kind of saw that train coming, and I

    3       wasn't going to be fired unjustly.

    4                    That will bring me to another point of a

    5       reason why I left.     Back in my other position I was

    6       involved with disciplinary action as a part of our

    7       union.     I was a PBA rep, so I'm kind of familiar

    8       with disciplinary actions.

    9                    In Dunedin there is no one that

   10       investigates employee complaints, and I tried to

   11       convey that when I left to try to make it a better

   12       place.     My exit interview was not to -- it wasn't

   13       bad, you know, sour grapes or anything like that.

   14       It was to make it a better place and to avoid

   15       issues, you know, in the future.

   16                    There is no one there to investigate

   17       employee complaints.     There is no disciplinary set

   18       of rules to fire somebody.       Anyhow, I kind of saw

   19       that train coming with a code enforcement review.         I

   20       didn't feel we had the support from the City

   21       Manager, Mayor, Commission, et cetera, so I wasn't

   22       going to work under those conditions.

   23            Q       That makes sense.

   24                    I only ask because sometimes people say,

   25       sort of air quotes, "resigned," but actually they




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    1       were given the choice of being fired or resign.

    2            A     I understand.     It never got to that point.

    3       I understand, sir.     Thank you.

    4            Q     Did you hear frequently requests to help

    5       someone because that person who had a code problem

    6       was a friend of the Mayor's or another official?

    7                  MR. MORA:    Objection.

    8                  You can answer.

    9                  THE DEPONENT:     Other than the example I

   10            just gave you -- we would get calls.        I would

   11            get many calls.

   12                  "Well, do you know who I am?"

   13                  "No."

   14                  "Well, I'm a friend of so and so."

   15                  "Okay."

   16                  When I first started, I jokingly had a do

   17            not cite list hanging on my door, and it was

   18            empty because we joked about it.       We have cited

   19            police officers, we have cited City employees.

   20            I mean, that just didn't interfere.

   21                  We did get calls from people who were --

   22            they may have thought they were VIP's and they

   23            would say "do you know who I am, do you know

   24            who I know."

   25                  So we would get those type of calls




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    1            frequently.

    2       BY MR. WARD:

    3            Q      Can you recall other communications from

    4       City employees asking for specific treatment for a

    5       certain person?

    6            A      No.    Not from City employees, no.

    7            Q      Or anyone in any other way sort of

    8       affiliated with the City?

    9                   I'm just not sure who you consider a City

   10       employee.

   11                   MR. MORA:    Objection.

   12                   THE DEPONENT:    No.

   13       BY MR. WARD:

   14            Q      Who was the person that was the friend of

   15       the Mayor's that you referred to a moment ago?

   16            A      George -- she said he works at the

   17       Pinehurst Pub as a cook and he lives on Idlewild

   18       Drive North.      I should know the number off the top

   19       of my head, but I can't recall it.

   20            Q      And could you remind me what was going on

   21       with that person's property?

   22            A      I cited it for overgrowth.     He had -- at

   23       one point there was a car in the street and I think

   24       it was missing -- it had been in a wreck.         It was

   25       obviously in a serious accident.      The front end was




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    1       extensively damaged where it couldn't be driven.            It

    2       was jacked up and missing maybe a couple of tires.

    3       It was in the front of his house.

    4                  I did a little background on the owner of

    5       the vehicle who was recently released from State

    6       prison for a variety of charges.      So I cited for

    7       that and overgrowth.     I think the garage -- no.      I

    8       didn't cite for the garage door which was broken,

    9       but the house has been neglected for many years.

   10            Q     Was there something about dealing drugs?

   11            A     They were dealing drugs out of there, yes.

   12       I would do my homework on properties.       I would check

   13       public databases.     The Pinellas County Sheriff's

   14       Office you could put in an address and it will bring

   15       up any arrests that were there.      I was familiar with

   16       that property.

   17                  We had a lot of communication, a lot of

   18       contact with deputies through the course of our job

   19       for obvious reasons.     So we would talk about those

   20       types of cases, plus I would see activity at houses

   21       that were suspicious in nature, drug dealing, you

   22       know, those types of thing.

   23                  Yeah.    I knew from the jail database and

   24       the Department of Corrections database that there

   25       were people there that were involved in the drug




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    1       business, plus neighbor complaints.       One neighbor, I

    2       believe, said they though they were cooking meth in

    3       there from one of the calls from what I remember.

    4               Q   Do you know if that person ever received

    5       code enforcement violations for any of this?

    6               A   Yes, he did.

    7               Q   Do you know if he was find for any of

    8       this?

    9               A   Yes.   $250 a day.

   10               Q   Do you happen to know what that added up

   11       to?

   12               A   As far as I know, it's still going.

   13               Q   And when was this?

   14               A   Let me think here.    I would say probably

   15       six months ago.     I remembered his last name too.

   16       George Swartz, S-w-a-r-t-z.

   17               Q   Did it feel like the rules weren't being

   18       enforced fairly?

   19                   MR. MORA:   Form.

   20                   MR. WARD:   You know what.    Fair enough.

   21       BY MR. WARD:

   22               Q   Regarding this situation, did it seem like

   23       the system wasn't operating fairly to you?

   24                   MR. MORA:   Form.

   25                   THE DEPONENT:   I did my job.




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    1       BY MR. WARD:

    2            Q     Did it seem like other people weren't

    3       doing theirs?

    4            A     I don't know about other people.       I just

    5       can tell you what I did in that regard and then the

    6       communication I got from the City Manager.

    7            Q     Did you think her request was improper?

    8            A     Yes.

    9            Q     Why?

   10            A     It just seemed improper.      I mean, it was a

   11       valid complaint, multiple complaints.       I believe

   12       there are people that were addressing the City

   13       Commission about this particular house just around

   14       that time frame or before, whatever.       I should have

   15       just, I guess, point blank asked "what do you want

   16       me to do, do you want me to do nothing or" -- it

   17       just struck me as odd.

   18            Q     I don't think you answered my question

   19       before.

   20                  Did you feel in this situation like the

   21       rules weren't being enforced evenly?

   22                  MR. MORA:   Form.

   23                  You can answer.

   24                  THE DEPONENT:     Well, I did enforce the

   25            code enforcement violations at that property,




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    1            yeah.     That case progressed to the Code

    2            Enforcement Board to a hearing, and it resulted

    3            in daily fines.

    4       BY MR. WARD:

    5            Q       You said a moment ago that you were

    6       bothered that there was no mechanism to investigate

    7       complaints about employees; did I get that right?

    8            A       Yes.

    9            Q       Were there complaints about employees that

   10       you thought should be investigated?

   11                    MR. MORA:    Objection.

   12                    You can answer.

   13                    THE DEPONENT:     Yes.

   14       BY MR. WARD:

   15            Q       Like what?

   16            A       Like me taking money.

   17            Q       Anything else?

   18            A       Not that I can recall.     I mean, you know,

   19       the nature of the business any time you do an

   20       enforcement, as you probably understand, people

   21       aren't happy, so they will call and they will be

   22       upset about the letter.        So, you know, I don't know

   23       if you can really call that a complaint.        They're

   24       more upset with being cited or whatever.

   25                    I think my point I made earlier, what I




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    1       took very seriously, is accusations of employees

    2       taking money.   That's a serious felony corruption

    3       violation to be prosecuted by the state or the

    4       federal government.    I think there should be some

    5       policy where if that type of complaint is made

    6       against not just Dunedin, and it probably is in

    7       other jurisdictions, any government entity, it

    8       should be investigated by law enforcement.        If

    9       someone makes that allegation, there is a penalty

   10       for that if it's true.

   11            Q     You said earlier that around the time you

   12       were deciding to leave that you heard a lot of

   13       complaints about code enforcement; did I get that

   14       right?

   15            A     Since this case, yes.

   16            Q     What sort of complaints were you hearing?

   17                  MR. MORA:   Form.

   18                  You can answer.

   19                  THE DEPONENT:     I don't even know how to --

   20            from what I mentioned earlier, the nationwide

   21            phone calls, the overseas phone calls, the

   22            emails, we're kicking people out of their

   23            homes, we're taking houses and just those types

   24            of things which were inaccurate.

   25




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    1       BY MR. WARD:

    2            Q       Did you get complaints from people in

    3       Dunedin about how they were treated?

    4            A       I didn't specifically.     I mean, I don't

    5       even know.     A lot of these calls were anonymous, so

    6       I had no idea who was calling.        I mean, there was a

    7       phone number associated with it, but many of them

    8       didn't give their name.      I think the majority of

    9       them were out of state, some overseas.

   10            Q       Do you know if other people in the City

   11       were getting complaints from property owners in

   12       Dunedin about how they were treated?

   13                    MR. MORA:   Objection.

   14                    THE DEPONENT:   I don't know.    I'm sure.     I

   15            don't know.

   16       BY MR. WARD:

   17            Q       When the City Manager, Ms. Bramley, asked

   18       you to go easy on George, where was that in the

   19       enforcement process?

   20                    MR. MORA:   Form.

   21                    THE DEPONENT:   It had already been cited,

   22            so it was going through the process.

   23       BY MR. WARD:

   24            Q       Had it reached the Board yet?

   25            A       I don't think so.




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    1            Q      Backing this up to when we were talking

    2       about your typical days, once you've decided to

    3       issue a notice of violation, how would you know

    4       where to send it?

    5            A      We're required by law to send it to the

    6       property owner of record, and that information we

    7       would get from the Pinellas County Property

    8       Appraiser's Office web site.

    9            Q      Did you ever have mail come back as

   10       undeliverable?

   11            A      Yes.

   12            Q      What would you do if that happened?

   13            A      What I would do personally is take a copy

   14       of that and/or maybe that particular letter and post

   15       it at the property or I would note in the file.         We

   16       would always note that it came back.       There would be

   17       some notation that it was returned from the postal

   18       service.

   19            Q      Did you post the property -- start that

   20       one over.

   21                   If you mailed a notice of violation and it

   22       wasn't returned as undeliverable, did you post the

   23       property?

   24            A      Not on a regular case.    For a code

   25       enforcement case it would be posted.




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    1            Q     Could you explain the difference.

    2            A     Yeah.   On a regular case you would just

    3       mail a notice of violation through the regular

    4       United States postal service.      For a Code

    5       Enforcement Board case you would mail a letter via

    6       the United States Postal Service registered return

    7       receipt requested, I believe.      We would also post a

    8       copy of that notice at the property primarily --

    9       pretty much on the front door, the front doorknob or

   10       that type of thing.

   11            Q     I'm sorry if this is stupid.

   12                  What's the difference between a regular

   13       case and a Code Enforcement Board case?

   14            A     A regular case is a notice of violation

   15       where the violation is spelled out and the time

   16       frame is spelled out, and if it is not corrected by

   17       that time, then it may progress to the Code

   18       Enforcement Board.    In order for that to happen,

   19       there would be additional letters and correspondence

   20       mailed out.

   21            Q     So at what point in that process is it

   22       that you would start posting the property regularly?

   23            A     Well, once you make a case, just to

   24       clarify, a code enforcement case, it would come up

   25       on your reinspection list and you would go out,




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    1       drive by at that particular time for the time frame

    2       allotted, and it was either corrected or it was not

    3       corrected.       If it was corrected, you would close the

    4       case.       If it wasn't, the case may progress to the

    5       Code Enforcement Board hearing, or if there were

    6       communications, you know, from the property owner

    7       and we've worked out some sort of agreement to give

    8       extra time or it could be a multitude of different

    9       things.       So that's kind of how they progress through

   10       the system.

   11               Q      Where is the cutoff in that progression

   12       for when you would start regularly posting the

   13       property; is it once you've decided that the case is

   14       going to the Board?

   15               A      Well, if you haven't had any communication

   16       or any contact from the property owner and it's

   17       beyond the compliance date, then you would schedule

   18       it for the Code Enforcement Board hearing.

   19               Q      And then do you send and post something

   20       about that?

   21               A      Yes.

   22               Q      A moment ago we were talking about mail

   23       that came back as undeliverable.       You said you would

   24       make a note of it.       You said you would post it at

   25       the property.




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    1                    Would you take any other steps?

    2               A    Yeah.   A lot of times we would try to make

    3       a phone call to the property owner through our

    4       databases that we had at the City.       We would try to

    5       contact them and try to see if -- a lot of times

    6       these properties may be vacant and we have no clue

    7       what's going on in their world.       So a lot of times

    8       we would try to call the property owner.        Many times

    9       the numbers were not good, they were old or

   10       whatever.

   11                    So, yeah, that's another step that we

   12       would do as a matter of routine is call the property

   13       owner with any numbers that we would have and we

   14       would do an internet search trying to contact the

   15       person, maybe, that type of thing just to try to

   16       find out what's going on with a property and try to

   17       get it resolved.

   18               Q    Where would you get their phone numbers

   19       from?

   20               A    Through our utility billing.

   21               Q    Anything else you would do in the case of

   22       undeliverable mail?

   23               A    That's pretty much it.

   24                    MR. WARD:   I'm up for a break because my

   25               throat is starting to get a little sore from




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    1            talking all this time.

    2                  MR. MORA:    Okay.

    3                  MR. WARD:    Is that all right with you?

    4                  MR. MORA:    I'm good.

    5                  MR. WARD:    Okay.

    6                  (Whereupon, there was a break in the

    7            proceedings.)

    8       BY MR. WARD:

    9            Q     After you decided that a violation should

   10       go to the Board, could you change your mind?

   11            A     Oh, yes.    That happened frequently.      Many

   12       times people would call and go, look, the violation

   13       has been corrected, and if it didn't have a long

   14       history of violations or there weren't any other

   15       circumstances, many times we would just say we're

   16       going to remove the case from the docket and we'll

   17       close the case out, help him on a regular basis.

   18            Q     In the George Swarts matter, did Jennifer

   19       Bramley's communication come after you had issued

   20       violations?

   21                  MR. MORA:    Objection.

   22                  You can answer.

   23                  THE DEPONENT:     Yes.

   24       BY MR. WARD:

   25            Q     Did you understand her to mean that those




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    1       violations either shouldn't go to the Board or, if

    2       they were going to the Board, should not go to the

    3       Board anymore?

    4                  MR. MORA:    Objection.

    5                  THE DEPONENT:     I can't describe what she

    6            was thinking.     All I can say is what I

    7            testified to earlier.      I just thought it was

    8            improper.

    9                  MR. WARD:    Fair enough.

   10       BY MR. WARD:

   11            Q     What did you understand her to mean,

   12       though?

   13                  MR. MORA:    Objection.

   14                  THE DEPONENT:     Well, when you have your

   15            boss telling you that -- talking about a case

   16            that you cited and talking about the Mayor

   17            that's a friend of hers, I think you put two

   18            and two together.     I think it's quite obvious.

   19       BY MR. WARD:

   20            Q     And what is it that is quite obvious?

   21                  MR. MORA:    Objection.

   22                  You can answer.

   23                  THE DEPONENT:     It was obviously improper,

   24            I guess I could answer, but I continued forward

   25            with that case.




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    1       BY MR. WARD:

    2            Q     Jennifer Bramley is not your direct

    3       supervisor or was not your direct supervisor,

    4       correct?

    5            A     Correct.

    6            Q     Who was your direct supervisor?

    7                  MR. MORA:   Form.

    8                  THE DEPONENT:    It was Joey DiPasqua and

    9            then above him was Greg Rice.       It was Greg Rice

   10            for a long time and then it changed sometime

   11            recently to Joey DiPasqua, but both of those

   12            individuals were still in the loop as far as,

   13            you know, Gregg Rice was the director in charge

   14            of the whole department and Joey DiPasqua

   15            eventually was in charge of code enforcement.

   16       BY MR. WARD:

   17            Q     Is Greg's boss Jennifer Bramley?

   18            A     Yes.

   19            Q     I just wanted to check.      Before you

   20       referred to her as your "boss."

   21            A     Yes.

   22            Q     At the time she was your boss's boss's

   23       boss; is that correct?

   24            A     Correct.

   25                  MR. MORA:   Objection.




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    1       BY MR. WARD:

    2            Q     Do you remember when you received that

    3       communication from her?

    4                  MR. MORA:     Objection.

    5                  THE DEPONENT:     I don't remember.    It would

    6            have been the end of last year.

    7       BY MR. WARD:

    8            Q     Do you remember what form that

    9       communication took?

   10            A     Phone call.

   11                  MR. MORA:     Form.

   12                  MR. WARD:     I'm tired of saying

   13            "communication."

   14       BY MR. WARD:

   15            Q     Could you estimate what percentage of

   16       notices of violation were point complaint driven and

   17       what percentage were self generated?

   18            A     I have no idea.

   19            Q     Can you try; 50/50?

   20                  MR. MORA:     Form.

   21                  THE DEPONENT:     I don't even want to put an

   22            estimate on it because I couldn't say.        I mean,

   23            we generated a lot of cases, so it would be

   24            really hard for me to even answer that

   25            question.




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    1       BY MR. WARD:

    2            Q     You mentioned earlier after seeing what

    3       you thought was a violation going back to your

    4       office to look up history of that property; is that

    5       right?

    6            A     Yes.

    7            Q     What did you look up when you were looking

    8       up history?

    9                  MR. MORA:   Form.

   10                  THE DEPONENT:    Prior violations.

   11       BY MR. WARD:

   12            Q     Prior violations at that property?

   13            A     Correct.

   14            Q     Would you try to look up other properties

   15       the owner owned?

   16            A     Not necessarily.     There were cases where

   17       we had investors, per se.      We did a lot of these

   18       types or cases.    We had a lot of unlicensed

   19       contracting cases, properties being rehabbed without

   20       permits, which would facilitate us to post a

   21       stop-work order.

   22                  So in that regard there were times where

   23       we may check an individual property owner and see

   24       how many properties they may have had.       A couple

   25       come to mind where they owned several properties




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    1       that -- they had a history of rehabbing properties

    2       using licensed contractors and not getting permits.

    3       So that's kind of an example.

    4            Q     It sounds like you didn't typically do

    5       that in cases that weren't about unlicensed

    6       contractors?

    7                  MR. MORA:   Form.

    8                  THE DEPONENT:    Not really.

    9       BY MR. WARD:

   10            Q     You also mentioned earlier that your job

   11       required you to communicate with police a lot; is

   12       that right?

   13            A     Correct.

   14            Q     Why was that?

   15            A     In code enforcement we would get calls.

   16       People would call us, believe it or not, and report

   17       drug dealing out of properties, mainly drug dealing,

   18       and, of course, we would direct them to the

   19       Sheriff's Office.

   20                  Many times I would contact the local

   21       deputies that we work with to provide that

   22       information.   I know people don't want to contact

   23       law enforcement for fear of retribution, so many

   24       times I would contact them for that.       So, yeah, a

   25       lot of contact daily, almost daily, with law




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    1       enforcement.     Maybe not daily, but weekly.

    2            Q     If you got a complaint about drug dealing,

    3       would you investigate that complaint yourself?

    4            A     No.    I have no authority to investigate

    5       drug dealing.

    6            Q     So you would refer those complaints to law

    7       enforcement and stop there?

    8            A     Correct.

    9            Q     While we are talking about law

   10       enforcement, is it fair to say that part of the

   11       purpose of code enforcement fines is to punish

   12       people for breaking the law?

   13                  MR. MORA:    Form.

   14                  THE DEPONENT:    I don't have any answer on

   15            that one.     I don't know.

   16       BY MR. WARD:

   17            Q     What do you think the purpose of code

   18       enforcement fines is?

   19                  MR. MORA:    Form.

   20                  THE DEPONENT:    I guess to ensure that

   21            people maintain their properties.       I mean,

   22            everything has a penalty.      The penalty, I

   23            guess, would be a fine, I guess.

   24       BY MR. WARD:

   25            Q     Do you think an element of that is the




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    1       Board saying, you know, "don't do this, this is

    2       wrong, we need to fine you"?

    3                    MR. MORA:     Objection.

    4                    You can answer.

    5                    THE DEPONENT:     I can't answer what the

    6            Board thinks, so I don't know how to answer

    7            that.

    8       BY MR. WARD:

    9            Q       Do you think that's an element of it?

   10                    MR. MORA:     Objection.

   11                    THE DEPONENT:     I can tell you my view is

   12            that a lot has to happen for it to get to the

   13            fine stage.        We would many times go out of our

   14            way to even get it to that point.          So I think

   15            that would be my answer on that.          That's kind

   16            of like the last exit, if you will, in that

   17            matter.

   18       BY MR. WARD:

   19            Q       But then sometimes it does get there?

   20            A       Oh, yes.     There are fines levied against

   21       properties, correct.

   22            Q       Yeah.   What do you see as the point of

   23       fining people for breaking the code?

   24                    MR. MORA:     Objection.

   25                    THE DEPONENT:     I'm not sure.    I think




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    1            that's the cost we pay to live in a civilized

    2            society.     I don't think code enforcement is

    3            unique to Dunedin, Florida.          I think it's

    4            pretty much everywhere in the U.S.

    5                    MR. WARD:     Fair enough.

    6       BY MR. WARD:

    7            Q       So let's say you have referred a case to

    8       the Code Enforcement Board.

    9                    What happens next?

   10            A       Well, like I said earlier, a certified

   11       letter goes to the property owner of record.             We

   12       post a copy of that notice and the hearing at the

   13       property at the front door and it goes on the

   14       docket.

   15            Q       And what happens after that?

   16            A       You appear at the Code Enforcement Board

   17       with our evidence, mainly photographic evidence.              We

   18       testify under oath.        We present pictures or any

   19       evidence we have.        Some cases there is witnesses

   20       that we have there to testify.        Basically read into

   21       the record, make a recommendation to the Code

   22       Enforcement Board, answer their questions.

   23            Q       Sometimes code enforcement would bring in

   24       witnesses?

   25            A       We would have witnesses, neighbors.




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    1       That's happened in the past.      I've had cases several

    2       times -- I can think of one in particular.        It was a

    3       condo that had a rat infestation problem and I had a

    4       couple of witnesses come in that were having issues

    5       with the condo association and rats and that type of

    6       thing.

    7                   A lot of times we would have neighbors

    8       come in and testify that felt strongly about certain

    9       properties not being maintained.      So, yeah, we would

   10       have witnesses.     Not a lot, but it would happen.

   11               Q   And you would also or a code inspector

   12       would also make a recommended -- start that one

   13       over.

   14                   And a code enforcement officer would also

   15       make a recommendation of the fine, if any, the Board

   16       should impose?

   17               A   Yes.

   18               Q   How did you go about making those

   19       recommendations?

   20               A   I would look at the history of the

   21       property, any prior violations.      That's pretty much

   22       the way it went.     If it was vacant, if it was

   23       investor owned, depending upon the condition of the

   24       property, that type of thing, if it was affecting

   25       other properties.     So there is a whole set of




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    1       circumstances that I would look at.

    2            Q       The seriousness of the violation?

    3            A       Yes, sir.

    4            Q       Would you look at other properties owned

    5       by the owner of the property in question?

    6                    MR. MORA:   Form.

    7                    THE DEPONENT:   I don't think so.     I'm not

    8            sure.     If it didn't relate to that case, it

    9            wouldn't be appropriate to -- we're talking

   10            specifically about one property, so it would be

   11            inappropriate for me to bring up another.           I

   12            mean, I don't understand that.

   13                    MR. WARD:   That makes sense.

   14                    THE DEPONENT:   Yeah.

   15       BY MR. WARD:

   16            Q       And then after that let's say the Board

   17       issues a fine.

   18                    What's your role after that?

   19            A       Really our administrator, Joan McHale,

   20       would prepare -- the Code Enforcement Board Chair

   21       would come in and sign the order sometime after the

   22       hearing and then Ms. McHale would prepare the

   23       paperwork to mail to the property owner.         Basically

   24       the findings of the Code Enforcement Board hearing.

   25            Q       What about your role specifically.      I




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    1       guess there is two cases here.      Sometimes the

    2       violations would be closed and done at that point

    3       and sometimes they would be open.

    4                  So, in a closed violation, would you take

    5       any further steps regarding that property?

    6                  MR. MORA:   Form.

    7                  THE DEPONENT:    I'm not sure I understand.

    8            For instance, if you presented a case to the

    9            Code Enforcement Board and say, for instance --

   10            I mean, there is different variation.        They may

   11            extend the compliance date and give the

   12            property owner additional time.       So at that

   13            point you would do a reinspection at that

   14            particular time to determine if it's in

   15            compliance or not.

   16                  I'm not sure if I answered your question

   17            on that.

   18                  MR. WARD:   That's part of it.

   19       BY MR. WARD:

   20            Q     Let's say a violation is closed, the Board

   21       issues a fine.

   22                  Would you go back to that property to see

   23       if there were violations reoccurring?

   24            A     I'm not sure I understand your question.

   25       For instance, if we have a case that's been found




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    1       not in compliance and there is a fine issued, we

    2       don't continue to go back until the property owner

    3       contacts us to say "can you please do a

    4       reinspection, I'm now in compliance."       At which time

    5       we would do that.     I'm not sure if that's what

    6       you're asking.

    7            Q     I was going to ask that question.

    8            A     Okay.

    9            Q     That's a fine answer too.

   10                  In the circumstance you just described

   11       where a violation is open, you would not reinspect

   12       until the owner contacted you to do so?

   13            A     Correct.

   14            Q     So, if the owner fixed the violation, but

   15       didn't ask for a reinspection, the violation would

   16       continue; is that correct?

   17            A     That's correct.

   18            Q     And it would continue indefinitely until a

   19       reinspection occurred, right?

   20            A     That's correct.    I would hope that someone

   21       would be responsible enough to call us and tell us

   22       that it was corrected so that we could respond

   23       appropriately.

   24            Q     Besides your responsibility, do you think

   25       it was possible that people just fix the violation




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    1       and then didn't contact you because it was fixed?

    2                  MR. MORA:   Form.

    3                  THE DEPONENT:    I don't know.    I'm sure

    4            that may have happened.

    5       BY MR. WARD:

    6            Q     And if that did happen, the fines would

    7       keep going?

    8            A     Yes.   And then to back that up, to add to

    9       that, I would say that I have had cases where the

   10       people would say look, it was fixed on such and such

   11       a date, and I would go out, reinspect the property,

   12       make contact with that person and I would pretty

   13       much take them at their word.      If they said it was

   14       done on such and such a date, I would take them at

   15       their word and do an affidavit to that effect,

   16       affidavit of compliance.

   17            Q     The question I was asking a moment ago was

   18       if a violation is closed.      So there is an affidavit

   19       of compliance.    The Board finds a violation still

   20       occurred, imposes a fine.

   21                  Did you make a practice of going back to

   22       those properties to see if violations reoccurred?

   23                  Does that make sense?

   24            A     Not really because of the workload.        Quite

   25       frankly, it wouldn't be on the radar.       Once the case




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    1       is not in compliance and the daily fine is running,

    2       there is really -- I mean, we can't go back there

    3       every day to see if there is progress made or if

    4       it's corrected.    We're hoping that the property

    5       owner is responsible enough to pick up the phone and

    6       call us to say it's been corrected, can you please

    7       come out and reinspect.     We always make that clear

    8       when we're dealing with our residents.

    9            Q     How do you make that clear that they

   10       should call you for reinspection?

   11            A     Many times it's done through the Code

   12       Enforcement Board hearings, by phone, phone

   13       conversations with folks, people that may come into

   14       the office and talk about violations.       So there is

   15       communicating with people.

   16            Q     I want to ask my prior question one more

   17       time because I think we're missing.

   18                  Say the Board finds a past violation and

   19       you know it's fixed at that time.       You issued a

   20       notice of violation.    There is a period of

   21       noncompliance.    Now you have an affidavit of

   22       compliance, it's in compliance now, and the Board

   23       issues a fine retroactively.

   24                  In those situations, even though it had

   25       been fixed, did that ever inspire you to go back to




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    1       that same property; I know it was a problem, I

    2       should go back and see if problems are reoccurring?"

    3                    That's what I'm trying to ask.

    4                    MR. MORA:   Form.

    5                    THE DEPONENT:   Not really.     I don't

    6             necessarily understand the question.        You know,

    7             I think that may come into play with a vacant

    8             property.    We would check it periodically

    9             because we've had issues with squatters and

   10             that type of thing.        So I think along those

   11             lines that may come into play.

   12       BY MR. WARD:

   13             Q      How did you -- I'll back that one up.

   14                    Did you think you did a good job as an

   15       inspector?

   16                    MR. MORA:   Form.

   17                    THE DEPONENT:   Yes, I did.

   18       BY MR. WARD:

   19             Q      How did you decide that -- against sort of

   20       what criteria did you evaluate your job?

   21             A      Just basically on my own work ethic and

   22       basically how I did the job, how I treated people.

   23       I always acted responsible.         Like I said, my ethics

   24       and reputation and credibility are very important to

   25       me.   I maintain that every day.        I know how hard I




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    1       worked and what I accomplished.

    2            Q       Did you think you were doing a better job

    3       if you issued more warnings?

    4            A       No.

    5                    MR. MORA:   Form.

    6       BY MR. WARD:

    7            Q       Did you think you were doing a better job

    8       if you sent more notices of violation?

    9                    MR. MORA:   Objection.

   10                    THE DEPONENT:   I don't think that came

   11            into play.     I think that through the course of

   12            your duties you do your job.        I mean, just do

   13            your job.     I don't think there is a factor, you

   14            know, of how many, you know, letters I sent

   15            out.     I mean, a lot of times we circumvented

   16            letters being mailed out.        Like I said before,

   17            whether it be knocking on a door or seeing a

   18            property owner out front and "hey, can you take

   19            care of that, can you take care of that."         So

   20            there is a lot of different moving parts to

   21            that.

   22       BY MR. WARD:

   23            Q       Did you ever think -- did you think you

   24       were doing a better job if the violations you were

   25       issuing were generating more fines?




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    1                    MR. MORA:     Objection.

    2                    You can answer.

    3                    THE DEPONENT:     It had nothing to do with

    4            it.

    5       BY MR. WARD:

    6            Q       Did you ever write anything down in a

    7       performance review about doing better for issuing

    8       more liens or generating more fines?

    9                    MR. MORA:     Objection.

   10                    THE DEPONENT:     I would never do that.

   11       BY MR. WARD:

   12            Q       How were your performance reviews?

   13                    MR. MORA:     Objection.

   14                    THE DEPONENT:     I'm sure you have them.

   15                    MR. WARD:     We actually do.

   16       BY MR. WARD:

   17            Q       Did you ever receive any needs improvement

   18       scores?

   19            A       No.     I'll also add that in almost 30 years

   20       a law enforcement officer I've never been sued, no

   21       disciplinary action.        Code enforcement, different

   22       story.     I'll add another thing, another reason why

   23       I'm leaving too.        A little tidbit.

   24            Q       Sure.

   25            A       Named in a lawsuit by the spouse of the




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    1       City employee.     The City employee is the secretary

    2       to the City Manager.      That was very disturbing.

    3            Q       I'm just going to make sure I got that

    4       right.

    5                    The spouse of the City Manager's secretary

    6       is suing you?

    7            A       Me, Michelle Gilbert and Mike Kepto.

    8            Q       What is the lawsuit about?

    9            A       Eddie's Bar & Grill, they live kind of

   10       caddy corner across the street.        The suit was filed

   11       by her husband, Shannon Smith, S-h-a-n-n-o-n, Smith.

   12            Q       I'm sorry.   Is Shannon the husband or the

   13       secretary?

   14            A       That's the husband.

   15            Q       That's the husband.     Okay.

   16            A       The husband to Donna.     That's another

   17       reason why I'm not there.      It involved Eddie's Bar

   18       kind of caddy corner across the street from where

   19       they live on Bayshore.      There is some history there,

   20       I guess, which I'm not even interested in knowing

   21       about.     It involved outdoor dining and a loud

   22       television.

   23                    When we first got the complaint, we were

   24       told don't cite it because it's been grandfathered

   25       in for whatever based on Mr. Trask's review and




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    1       Mr. DiPasquo's review and Mr. Rice.       The next thing

    2       you know, we're being served with a lawsuit.        So I

    3       thought that was odd.

    4             Q     What did you mean by -- let me start that

    5       one over.

    6                   So someone told the code inspectors not to

    7       cite Eddie's Bar & Grill?

    8             A     We were told that it was not a violation

    9       because the outdoor dining had been grandfathered

   10       in.   Again, that's above my paygrade.      I didn't get

   11       into all the specifics.     Basically do not cite it

   12       because of that legal interpretation.

   13             Q     Who told you not to cite it?

   14             A     Probably Greg and Joey.

   15                   They said, "Don't get involved with it.

   16       It's a legal issue."

   17                   That type of thing.

   18             Q     What's the substance of the lawsuit; like

   19       what are they accusing you of doing?

   20             A     Accusing us of not doing our job, of not

   21       doing code enforcement, basically, which is -- it's

   22       a little bit unusual, I thought.      It's kind of like

   23       a performance evaluation the way I read it.

   24             Q     I'm not sure I understand at all.

   25                   MR. MORA:   Whereas this is about too much




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    1            code enforcement, the other one is not enough

    2            code enforcement.

    3       BY MR. WARD:

    4            Q     So the bar that you weren't citing -- so

    5       the husband of the secretary to the City Manager is

    6       suing you for not citing Eddie's Bar & Grill?

    7            A     Correct.

    8            Q     Okay.   Is Eddie's Bar & Grill doing

    9       something that Shannon Smith objects to?

   10            A     You would have to ask Mr. Smith.

   11                  MR. MORA:   Objection.

   12                  THE DEPONENT:     He's the one that filed the

   13            lawsuit.

   14                  MR. WARD:   Fair enough.

   15       BY MR. WARD:

   16            Q     Does the lawsuit allege that you should

   17       have been citing Eddie's Bar & Grill because of

   18       something it was doing that was affecting Shannon

   19       Smith?

   20                  MR. MORA:   Objection.

   21                  You can answer.

   22                  THE DEPONENT:     Allegedly.

   23       BY MR. WARD:

   24            Q     Does the lawsuit accuse you of anything

   25       other than not citing the bar and grill that should




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    1       have been cited?

    2            A     No.

    3                  MR. MORA:   Never a dull day.

    4                  MR. WARD:   Maybe we'll talk about it at

    5            the break.

    6       BY MR. WARD:

    7            Q     Have you been sued any other times in

    8       connection with your job in Dunedin code

    9       enforcement?

   10            A     No.

   11            Q     Do you know whether any lawsuits, even if

   12       you weren't named as a party in them, ever concerned

   13       your behavior when you were in Dunedin code

   14       enforcement?

   15                  MR. MORA:   Objection.

   16                  THE DEPONENT:    None that I'm aware of.

   17       BY MR. WARD:

   18            Q     Okay.   How often did you see long grass

   19       cases?

   20                  MR. MORA:   Form.

   21                  THE DEPONENT:    I couldn't put a number on

   22            it.   You would get complaints.      You would see

   23            it.   Primarily during the rainy season when

   24            grass grows a lot, as you guys probably are

   25            aware, but I couldn't put a number on it.




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    1       BY MR. WARD:

    2            Q     Did you see them every week?

    3            A     I would say possibly.     You know, the

    4       winter months the grass doesn't grow quite as much.

    5       I know in the summer I have to cut mine twice a

    6       week, so it grows pretty quickly.

    7            Q     I'm not from here.

    8                  Is the summer the rainy season?

    9            A     Yes.   I guess you can say the spring too.

   10            Q     Were long grass cases a priority for you?

   11            A     No.

   12            Q     Why not?

   13            A     It was just part of our duties, one of the

   14       many violations that we would enforce.

   15            Q     Did you ever, just because of your limited

   16       time, prioritize more serious violations over less

   17       serious ones?

   18                  MR. MORA:     Form.

   19                  THE DEPONENT:     I'm not sure how I would

   20            answer that.      I mean, if we got a complaint, we

   21            would react pretty quickly to it pretty much

   22            the same day.      I don't know if I answered that

   23            for you or not.

   24       BY MR. WARD:

   25            Q     One way you could address the day is, you




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    1       know, the first -- you know, you can get to so many

    2       code violations in a day and the first that we see

    3       are the ones we deal with whether -- because

    4       complaints, those are what we see as we drive around

    5       for the complaints, we see other ones or it could be

    6       that, you know, as some come along you hear

    7       complaints about them or you see them, but you

    8       think, you know, "I'm going to skip that one today,

    9       I need to get to un-permitted alterations" or

   10       something?

   11                    MR. MORA:   Is that a question for him?

   12                    MR. WARD:   That was an explanation of my

   13            trying to ask whether you ever sort of

   14            prioritize some kinds of violations over

   15            others.

   16                    THE DEPONENT:   I think I can answer.     If I

   17            got to the point -- I would keep a running

   18            tally in my mind of how many cases I had to

   19            write up.     So, once I kind of got to that

   20            point, I knew that, you know, I got to get back

   21            to the office and start writing, kind of just

   22            go back and get writing.

   23                    Through the course of a day, you know, we

   24            would see things and you would just react and

   25            take appropriate action.      In the case of the




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    1            rehabs and properties which we had a lot of,

    2            many times we would stop in and they may have a

    3            permit, they just didn't have it displayed

    4            properly, so you would take no action.        Okay.

    5            You've got the permit.      They should show us a

    6            permit and we would be gone.

    7                  Again, I'm not sure if I answered your

    8            question.    You would get to the point where

    9            through the course of your day you would know

   10            that it's time to get back to the office before

   11            you get overwhelmed with paperwork and you want

   12            to get, you know, working on that.

   13                  MR. WARD:   That make sense.

   14       BY MR. WARD:

   15            Q     So let's say that happens.      You've done

   16       enough for the day that you need to get back to the

   17       office.

   18                  If on the way back to the office you saw

   19       more violations, would you add those to the list or

   20       just get back to the office?

   21            A     That would depend.     I mean, sometimes you

   22       would drive back tunnel vision because you knew you

   23       had to get back and do stuff.      If something was, you

   24       know, serious like, in my opinion, a car up on jacks

   25       with no tires or something like that or a dumpster




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    1       in the driveway with a rehab, you might stop and

    2       check that, but certainly would not be looking for

    3       things driving in to the office after that type of

    4       day.

    5              Q     Fair to say some violations are worse than

    6       others?

    7              A     Yes.

    8                    MR. MORA:    Form.

    9       BY MR. WARD:

   10              Q     Is long grass a serious offense?

   11                    MR. MORA:    Form.

   12                    THE DEPONENT:    That's kind of a general

   13              question.     I mean, I don't know.

   14       BY MR. WARD:

   15              Q     Do you think there are offenses that are

   16       more serious than having long grass?

   17              A     I think it comes back to my original

   18       statement.     It's about property values and

   19       maintaining your property appropriately.        I mean,

   20       like I said before, when it rains I cut my grass

   21       twice a week.       I don't know if I answered that

   22       question, but that's kind of my answer.

   23              Q     Do you know how much there being long

   24       grass on a particular property affects surrounding

   25       property values?




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    1            A      You would probably have to ask the

    2       neighbors that.    I don't know.

    3            Q      Do you think it affects or do you know

    4       whether it affects surrounding property values any

    5       more or less than a dumpster being in the driveway?

    6            A      I don't know.

    7            Q      Is un-permitted work more serious than an

    8       overgrown lawn?

    9            A      I don't think I could -- I mean, a

   10       violation is a violation.     I don't think I could

   11       determine what's more serious.       It depends.     It's

   12       perception or whatever.     You know, we enforce all

   13       code enforcement violations.       I can't say unless it

   14       was a life-safety health issue with a vacant home,

   15       maybe, that's open, that type of thing, you know,

   16       rodents.    I don't think I can categorize them as

   17       what's more important than the other.

   18            Q      Is long grass a life-safety issue?

   19            A      Not in my opinion.     It could cause issues

   20       with -- you know, when we get these high grass

   21       cases, we get complaints that go along with it.

   22       Their grass, due to the fact it's not being cut,

   23       it's causing me to have rats and snakes on my

   24       property.    We get a lot of that.     High grass, we get

   25       complaint on rodents, you know.       When we have




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    1       conversations with people, I call them "rat condos,"

    2       is there piles of stuff on the property where

    3       animals harbor and live.     So, I guess, in that

    4       regard, again, if I answered your question on that

    5       one, I'm not sure.

    6            Q     When you say "piles of stuff," do you mean

    7       grass or do you mean objects?

    8            A     No.   When we have rodent issues, snake

    9       issues, when we get a complaint of rodents and

   10       snakes, we look for property's high grass, we look

   11       for piles of stuff on the property, whether it be,

   12       you know, piles of wood or construction materials or

   13       garbage, you know, that type of thing that attracts

   14       animals to live and so forth.

   15            Q     Well, let me ask this.

   16                  How many times have you seen a rat in long

   17       grass that you were inspecting?

   18            A     I don't know about long grass, but I've

   19       seen a lot of rats in the course of my duties, rats,

   20       snakes, that type of thing.

   21            Q     But you can't recall seeing one where

   22       there was just long grass?

   23                  MR. MORA:   Objection.

   24                  THE DEPONENT:    Yeah, because I almost

   25            stepped on a snake one time that was in grass.




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    1            So I do recall one case specifically, but,

    2            beyond that, no.

    3       BY MR. WARD:

    4            Q      Do you recall any cases with rats?

    5            A      Yes.

    6            Q      Do you recall any cases where the only

    7       violation was long grass where there were rats?

    8            A      I don't think I can answer that.      I can

    9       recall cases of properties where their only

   10       violation was high grass.

   11            Q      Did you ever see long grass covering up a

   12       sinkhole?

   13            A      I'm not a sinkhole expert, but I don't

   14       think grass would cover a sinkhole because a

   15       sinkhole is a hole in the ground, right?

   16            Q      I'm not really supposed to answer

   17       questions, but, yes, I agree with you.

   18            A      Okay.

   19            Q      Did you ever see or hear about long grass

   20       encouraging kids to break into a house?

   21                   MR. MORA:   Form.

   22                   THE DEPONENT:   No.

   23       BY MR. WARD:

   24            Q      What, if any, policies did you have

   25       regarding repeat violators?




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    1                    MR. MORA:   Form.

    2                    THE DEPONENT:   Really no policies.    I know

    3            my personal dealings with repeats I tried to

    4            avoid them as much as I could, whether it be by

    5            phone or if I saw the person out front, but we

    6            had no policy, per se.      If it was a repeat, it

    7            was a repeat by law and it would be the same

    8            like any other case that would go through the

    9            process and through the system.

   10       BY MR. WARD:

   11            Q       When there was a repeat violation, could

   12       you issue a notice of violation that wouldn't treat

   13       it as a repeat?

   14                    MR. MORA:   Objection.

   15                    THE DEPONENT:   I'm not sure I understand

   16            the question.

   17       BY MR. WARD:

   18            Q       Did you have any discretion to say this

   19       violation, even though it's a repeat, shouldn't be

   20       treated like a repeat violation?

   21            A       I guess, but, I mean, you wouldn't really

   22       be doing the job correctly because, if it was a

   23       repeat violation, it should be processed as a repeat

   24       violation.

   25            Q       How did you give notice when you saw a




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    1       repeat offense?

    2                  MR. MORA:    Form.

    3                  THE DEPONENT:    Same as I mentioned

    4            earlier.     Letters, registered mail, posting at

    5            the property.

    6       BY MR. WARD:

    7            Q     Before you said when you -- I'll start

    8       that one over.

    9                  I think before you said you wouldn't post

   10       a property until you issued a notice of violation;

   11       is that correct?

   12            A     Correct.

   13            Q     Same with repeat offenders?

   14            A     Yes.

   15            Q     For repeat offenses what sorts of fines

   16       did you typically recommend to the Board?

   17                  MR. MORA:    Form.

   18                  THE DEPONENT:    I think the law states that

   19            they can be fined up to $500 a day.        So

   20            anywhere from -- it would be handled on a

   21            case-by-case basis.        You would take a lot of

   22            things into account.        Vacant property, contact

   23            with the property owner, yes or no, previous

   24            code enforcement violations.        So there is a

   25            whole set of circumstances that I would look at




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    1               and make that decision.

    2       BY MR. WARD:

    3               Q    At the risk of a dumb question, when a

    4       property was vacant, how did that affect your

    5       recommendation?

    6               A    Greatly because it's clear that if the

    7       property was vacant and it was not being properly

    8       maintained, it was a problem for the neighborhood

    9       and for the community.

   10               Q    So, when a property was vacant, that would

   11       tend to have you recommend a higher fine?

   12               A    Yes.

   13               Q    Okay.   In your experience, did sending

   14       notices tend to lead to compliance?

   15               A    I would say the majority of the times,

   16       yeah.

   17               Q    Is it fair to say then the sooner someone

   18       gets notice, it's more likely the sooner that there

   19       will be compliance?

   20                    MR. MORA:    Objection.

   21                    THE DEPONENT:    I'm not sure how I can

   22               answer that because they get -- a property

   23               owner gets the letter and it's their decision

   24               how and when to react.    I can just give you a

   25               general answer.




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    1                  Many times we wouldn't get a phone call.

    2            Many times we would go out on the reinspection

    3            date and say, "oh, the violation has been

    4            corrected" and we would close the case.

    5                  Sometimes we would get a phone call from a

    6            property owner to talk about the case, talk

    7            about the violation, and that could open up,

    8            you know, doors for talking about issues they

    9            may have, personal issues like I touched on

   10            earlier, come up to an agreement, give them

   11            extra time, that type of thing.       I don't know

   12            if I answered that or not, but --

   13       BY MR. WARD:

   14            Q     Well, my question is, you said a moment

   15       ago notifying property owners of violations often,

   16       not always, but often leads them to fix it, correct?

   17            A     Correct.    I would say the majority.

   18            Q     So, the majority of the time then, the

   19       sooner notice is received, the sooner the violation

   20       will be corrected?

   21                  MR. MORA:    Form.

   22       BY MR. WARD:

   23            Q     Is that correct?

   24            A     I can't answer that because that's

   25       entirely up to the property owner that gets the




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    1       letter and how they are going to react to it and

    2       respond to it.        So I can't answer that.

    3            Q       Right.

    4                    But for the ones who would respond by

    5       fixing it, the sooner they get the notice, the

    6       sooner it would be fixed, right?

    7                    MR. MORA:     Form.

    8                    THE DEPONENT:     I don't know how to answer

    9            that.     They get a notice of violation in the

   10            mail with a compliance date.          I don't know how

   11            to answer that any other way.

   12                    MR. WARD:     Take a break?    It seems like a

   13            good time.

   14                    MR. MORA:     Yeah.   Let's do it.

   15                    (Whereupon, there was a break in the

   16            proceedings.)

   17       BY MR. WARD:

   18            Q       To go back to the questions from a couple

   19       minutes ago, is having a green pool worse than

   20       having an overgrown lawn?

   21                    MR. MORA:     Form.

   22                    THE DEPONENT:     I consider a green pool to

   23            be pretty serious in light of the mosquito

   24            problem, Zika virus, health and safety issue.

   25            So, yeah, I consider that to be pretty --




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    1            that's right up there as far as my priorities

    2            would be.        Yeah.     I consider that an important

    3            violation to enforce.

    4       BY MR. WARD:

    5            Q       And is it more serious than having long

    6       grass?

    7            A       I don't think I can say one is more

    8       serious than the other.           It's a case-by-case type

    9       thing.     That's hard for me to say what's more

   10       important.     You know, how high is the grass.           Is it

   11       just 10 inches or is it 15.           You know what I mean.

   12       So it's kind of hard to answer that question.

   13            Q       Well, is 10-inch tall grass worse than a

   14       green pool?

   15                    MR. MORA:        Form.

   16                    THE DEPONENT:        It's a violation.     I think

   17            a pool is serious, like I mentioned earlier, in

   18            light of the illnesses and mosquito-born

   19            illnesses, health and safety, that type of

   20            thing.     Kind of two different things, in my

   21            opinion.

   22       BY MR. WARD:

   23            Q       Sorry.     What is two different things?

   24            A       Well, they're both violations.           I don't

   25       think that you can really compare the two in that




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    1       regard.

    2            Q       Even though one breeds mosquitoes and the

    3       other one doesn't?

    4                    MR. MORA:    Form.

    5                    THE DEPONENT:    I don't know if high grass

    6            would or not.       I don't know.

    7       BY MR. WARD:

    8            Q       Uncontracted work, is that a worse

    9       violation than tall grass?

   10            A       I don't say worse.    I can say common

   11       violation because, you know, we see the aftermath of

   12       work being done by unlicensed contractors because we

   13       would get contacted periodically from a new

   14       homeowner.

   15                    One in particular, I'll give you an

   16       example, a retired lady had a complete wall that was

   17       falling down that was termite infestation that had

   18       been covered up.     So, I mean, it's just one of the

   19       violations that we enforced.

   20            Q       I think a moment ago you said that

   21       life-safety violations you take more seriously than

   22       nonlife-safety violations; is that right?

   23            A       Well, I think a health and safety issue is

   24       a serious violation that we would respond to pretty

   25       quickly and take action.




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    1            Q     And it's more serious than non-health and

    2       safety violations?

    3                  MR. MORA:   Form.

    4                  THE DEPONENT:    Again, I think you would

    5            have to give me a specific case or something.

    6            All I can tell you is that, you know, a vacant

    7            property that's open to the elements, open to

    8            animals, open to people that can go inside,

    9            that's a concern.     So, I think, if you're

   10            talking about something like that, yeah, that

   11            would be a concern.

   12       BY MR. WARD:

   13            Q     Is a vacant property that's opened to the

   14       elements a more serious violation than 10-inch-long

   15       grass?

   16            A     I can't categorize it because my opinion

   17       doesn't matter.    It's still a violation and, if it's

   18       a violation, we'll respond to it appropriately.

   19            Q     Can you say whether any violations are

   20       worse than any other violations?

   21            A     I can't really say, no.

   22            Q     So, when you're recommending a proposed

   23       fine to the Code Enforcement Board, can you evaluate

   24       how serious the violation is then?

   25                  MR. MORA:   Form.




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    1                    THE DEPONENT:   Well, like I mentioned

    2            earlier, it would rely upon the previous cases

    3            at that property, whether or not you've had

    4            contact with the owner, a whole host of reasons

    5            why.     So each case would be different.

    6       BY MR. WARD:

    7            Q       Have any other code inspectors been

    8       accused of taking money that you're aware of?

    9                    MR. MORA:   Form.

   10                    THE DEPONENT:   Well, there was only two of

   11            us back then, and it was general accusations

   12            against code enforcement.      So I guess you could

   13            say, you know, many of the callers would say

   14            code enforcement, so I guess you could leave

   15            that up to your imagination a far as who they

   16            were talking about.

   17       BY MR. WARD:

   18            Q       The other code enforcement officer back

   19       then was Mike Kepto; is that right?

   20            A       Correct.

   21            Q       Did any complaints about code officers

   22       taking money specifically complain about Mr. Kepto

   23       taking money that you're aware of?

   24            A       I think there might have been some social

   25       media.     There was a social media website where a lot




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    1       of this stuff was being talked about that we saw.

    2       So we were both included into that of which I

    3       requested law enforcement to investigate to the City

    4       Manager based on those comments.

    5               Q    You asked law enforcement to investigate

    6       what?

    7               A    I asked the City Manager to contact law

    8       enforcement on these allegations that I felt were

    9       very serious when we're being accused of taking

   10       money.

   11               Q    What did you want investigated?

   12               A    The allegation of corruption of us taking

   13       money.

   14               Q    So an investigation into you and

   15       Mr. Kepto?

   16               A    Correct.

   17               Q    I just wanted to make sure I understood

   18       that.

   19               A    Yeah.   No problem.

   20               Q    Do you remember what that social media

   21       site was?

   22               A    Delightful Dunedin.

   23               Q    Do you remember with any more specificity

   24       what was discussed there?

   25               A    One of the allegations was us taking




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    1       money, us seeing drugs in a home and didn't react to

    2       it, didn't do anything.          Another serious concern of

    3       mine.       Yeah.     A lot of stuff.   I kind of quit

    4       reading it because it's very disturbing and it's

    5       unfounded, it's unwarranted, it's false.           So I kind

    6       of quit reading it back then.

    7               Q      When you were making recommendations to

    8       the Board on repeat violators, how often was it for

    9       you to recommend the maximum $500-a-day fine?

   10               A      Not very common.

   11               Q      What were some circumstances where you

   12       recommended that?

   13               A      The history, code enforcement previous

   14       violations.

   15               Q      Do you remember any specific cases where

   16       you made that recommendation?

   17               A      For repeat violation?

   18               Q      Yes.

   19               A      The Ficken case.

   20               Q      Well, I have some questions about that.

   21                      Do you remember any others?

   22               A      Not offhand.     No, I don't.

   23               Q      Do you remember any times you recommended

   24       the full $500 fine for a non-repeat violator?

   25               A      We can't.     $250 is the max.




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    1            Q       But it wasn't common for you to recommend

    2       a $500 fine for a repeat violator?

    3            A       Not really.     I may have done it, I think,

    4       before on other cases, but I don't recall exactly

    5       what case.

    6            Q       So Mr. Ficken's case.

    7                    Are you familiar with the fines at issue

    8       in this case that Mr. Ficken is suing about?

    9                    MR. MORA:     Form.

   10                    THE DEPONENT:      Familiar with the fines

   11            that he -- I mean, I'm not sure of the

   12            question.       I know -- I'm not sure of the

   13            question.       Re-ask the question.

   14                    MR. WARD:     Fair enough.

   15       BY MR. WARD:

   16            Q       I'm just curious of your background

   17       knowledge.     We're suing about two violations from

   18       the summer of 2018 for overgrowth.

   19                    Just does that ring a bell?

   20            A       Yes.    Oh, yes.

   21            Q       Okay.    I just want to know how to walk

   22       into that.

   23                    Can you walk me through your memory of

   24       what happened that summer in this case?

   25                    MR. MORA:     Form.




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    1                  THE DEPONENT:    I recall getting a

    2            complaint from a female caller.

    3                  "Can you please do something about this

    4            property."

    5                  I'm paraphrasing.

    6                  "It's overgrown.    It's ongoing."

    7       BY MR. WARD:

    8            Q     Do you remember if there was a record of

    9       that complaint anywhere?

   10            A     A record of the complaint would be in my

   11       violation notice.

   12            Q     I guess I'm asking if there are notes of

   13       what she said or some sort of --

   14            A     No.    We don't tape record conversations or

   15       anything like that, no.

   16            Q     Do you remember whether she complained

   17       about anything more specific than overgrowth or

   18       beyond overgrowth?

   19            A     I remember she just said that this is

   20       ongoing, the place looks like a dump, words to that

   21       effect, why aren't you guys doing anything basically

   22       was the gist of the conversation.

   23            Q     Did she say anything about snakes or rats?

   24            A     Did I?

   25            Q     Did she, the complainant?




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    1               A       I don't recall that.

    2               Q       What did you do?

    3               A       I went out there, saw that the grass was

    4       high.        I believe Mr. Ficken was standing in the

    5       driveway.        I pulled up.     I have a marked vehicle.

    6                       I believe I said, "Can you please cut your

    7       grass to avoid a repeat violation."

    8                       I believe he said something to the effect

    9       that his lawnmower had broke.

   10                       I said, "Please rent one.     Please get it

   11       cut.        Thank you."

   12                       Then I drove away.     Brief conversation.

   13       That was it.

   14               Q       Do you remember how soon after that he cut

   15       it or whether he cut it?

   16               A       He did cut it eventually, yes.     I don't

   17       remember the exact date.

   18               Q       Do you remember the approximate amount of

   19       time it was after that conversation?

   20               A       I don't recall.     I would have to look at

   21       the file.

   22               Q       One second here.

   23                       Do you remember what month that

   24       conversation was in?

   25               A       I will have to take a guess.     Like, maybe,




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    1       June, July.     I'm not sure.

    2            Q     Maybe it will help to get out the notes.

    3                  I'll give you a document that we will mark

    4       as Colbert 1.

    5                  Do you recognize this document?

    6            A     Yes.

    7            Q     What is it?

    8            A     This is a Case History Report.

    9            Q     Does it appear to be a correct copy of

   10       that case history?

   11            A     I would imagine so.

   12            Q     Could you flip to the case 18-858.

   13            A     Okay.

   14                  MR. MORA:     It's like the third one from

   15            the end.

   16                  THE DEPONENT:     Oh, okay.

   17                  MR. MORA:     It actually starts in the back.

   18                  THE DEPONENT:     Okay.   I'm there.

   19                  MR. WARD:     Let me also give you the

   20            minutes of the September meeting too.

   21                  THE DEPONENT:     Okay.

   22                  MR. WARD:     We'll do those together.

   23                  MR. MORA:     Is that a composite or a

   24            separate -- are you going to do it as

   25            Exhibit 2?




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    1                    MR. WARD:    Yes.     Exhibit 2.

    2                    MR. MORA:    Okay.     Just keeping track of my

    3            notes.

    4                    MR. WARD:    Colbert 2.     It's sort of

    5            towards the back in 2.          It's Item 16.   There

    6            aren't page numbers.

    7                    THE DEPONENT:       Okay.

    8                    MR. MORA:    It's about four pages from the

    9            back on the rear of the page.

   10       BY MR. WARD:

   11            Q       The conversation that you referred to a

   12       moment ago where Mr. Ficken said his mower was

   13       broken, was that the first time you spoke to him

   14       about this violation?

   15            A       I believe so.

   16            Q       Could you look at the last bullet in the

   17       bulleted list in the minutes, please.

   18            A       Okay.

   19            Q       Could you read that last bullet, please.

   20            A       "Mr. Colbert stated that the City

   21       recognized based on the facts and circumstances" --

   22            Q       I'm sorry.    I'm sorry to interrupt you.

   23       I'm sorry.     The last bullet point, the one here.

   24            A       Oh, I'm sorry.

   25            Q       I'm sorry to interrupt you.




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    1            A     "The grass was cut on August 22nd, 2018.

    2       He believes on August 20th he was driving by the

    3       property, the owner was out front and he asked if

    4       the grass was going to be cut any time soon,

    5       indicated his lawnmower was not working and the

    6       owner asked that he not come back tomorrow, but in

    7       two days it would be cut."

    8            Q     And the "he" in "he believes on

    9       August 20th he was driving by the property the owner

   10       was out front," that "he" is you, right?

   11            A     Right.

   12            Q     Is that the conversation you were just

   13       referring to?

   14            A     Yeah.    I don't recall him saying that it

   15       would be cut in two days.     I don't recall that

   16       specifically.

   17            Q     But this August 20th conversation is the

   18       first time you remember speaking to him about it?

   19            A     Right.

   20            Q     Okay.    Backing up, if you look in

   21       Exhibit 1 here, could you tell me when the first

   22       inspection date on the property was?

   23            A     For what case; for 18-858?

   24            Q     Yes, please.

   25            A     It looks like July 5th of 2018.




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    1            Q       Okay.   Do you remember what, if anything,

    2       you did on July 5th, 2018?

    3            A       Inspecting the property like I just

    4       mentioned.

    5            Q       I know it's more than a year and a half

    6       later.

    7                    Do you remember doing that or --

    8            A       Oh, I remember doing that, yes.

    9            Q       Do you remember doing anything else about

   10       the case that day besides the inspection itself?

   11            A       Probably photographed it.

   12            Q       Okay.   Do you remember writing up any

   13       notes or any of this case report?

   14            A       Well, I think I went back a couple days

   15       later, if I recall, to see if it had been cut and

   16       then I proceeded with the case because it had not, I

   17       believe.

   18            Q       What do you mean by "proceeded with the

   19       case"?

   20            A       Like sending out a violation notice for

   21       repeat violation.

   22            Q       When did you do that?

   23            A       Do you have the violation notice?

   24            Q       Yes.

   25            A       Sorry to make you dig it out, but that




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    1       would tell me the date.

    2            Q     Does it also say in the notes?

    3            A     I'm trying to find it here.      It looks like

    4       August 22nd of 2018.

    5            Q     Okay.     On August 22nd did you also post

    6       the property?

    7            A     I don't know what date I did that.       I

    8       would have to look at the records to that effect.

    9       Most likely on a normal case or any case it goes to

   10       the Code Enforcement Board.       When you send a letter

   11       out, that gets posted on that same date.

   12            Q     And when you say "the letter," you mean

   13       the notice of violation?

   14            A     Right.     Yes, sir.

   15            Q     What's here was sent on August 22nd?

   16            A     Correct.

   17            Q     Okay.     So the usual practice --

   18            A     Correct.

   19            Q     -- would have been to post on that date?

   20            A     Uh-huh.     (Indicates affirmatively).

   21            Q     And not before?

   22            A     Correct.

   23            Q     If you posted it before then, would that

   24       be written down somewhere?

   25            A     It should be, yeah.




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    1            Q       Okay.   Is it written down in the Case

    2       History Report?

    3            A       Not that I see.

    4            Q       Do you remember anything else about your

    5       conversation with Mr. Ficken on August 20th?

    6                    MR. MORA:   Form.

    7                    THE DEPONENT:     That was basically it.

    8            Very brief, to the point.        It probably didn't

    9            last more than 30 seconds.

   10       BY MR. WARD:

   11            Q       Because I have the memory of a goldfish,

   12       could you repeat what happened in those 30 seconds,

   13       please.

   14            A       "Hey, can you please cut your grass.       I

   15       want to avoid a repeat violation."

   16                    I believe he said his lawnmower was

   17       broken.

   18                    I said, "Please get it cut as soon as

   19       possible."

   20            Q       And then did he cut the grass?

   21            A       Eventually, yes.

   22            Q       When did he cut it?

   23            A       Looking at the notes here, it says the

   24       grass was cut on August 21st of 2018.

   25            Q       Do you have any reason to believe that's




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     1       not true?

     2            A      No.

     3            Q      Okay.     If you were trying to avoid a

     4       repeat violation, which is what you said to him, and

     5       then he cut the grass the next day, why did you

     6       issue the notice of violation?

     7            A      Well, because it wasn't cut the next day.

     8            Q      I'm sorry?

     9            A      Oh.     It was because it was out of

   10        compliance again, I believe, from the July 5th date,

   11        July 5th of 2018.

   12             Q      Well, I'm not sure what you mean.      It

   13        sounds like on August 20th you said you wanted to

   14        avoid a repeat violation.

   15             A      July 5th.     When I first went out there?

   16             Q      No.     I'm sorry.   When you were talking to

   17        Mr. Ficken on August 20th which is reflected in

   18        Exhibit 2, the meeting minutes, if that helps.

   19             A      Okay.

   20             Q      You said that there was a conversation on

   21        August 20th where you said you're hoping to avoid a

   22        repeat violation.

   23                    MR. MORA:     I'm just going to object to the

   24             qualification of what's in the bullet.        Other

   25             than that, you can continue.




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     1                  MR. WARD:    Okay.

     2                  THE DEPONENT:       Well, I think it was out of

     3            compliance.     I'm looking at the bullets from

     4            the testimony from July 5th of 2018 through

     5            August 20th of 2018.

     6                  MR. WARD:    Yes.

     7       BY MR. WARD:

     8            Q     And then on August 20th you say you have a

     9       conversation where you ask "please mow, I don't want

   10        to do a repeat violation;" did I get that about

   11        right?

   12             A     I don't know.       I thought that was the

   13        first time I went out there on the thing which was

   14        July 5th of 2018.

   15             Q     Okay.    But your testimony earlier was that

   16        that conversation with Mr. Ficken happened on August

   17        20th as the meeting minutes reflect?

   18             A     In looking at the case, I know I was there

   19        on July 5th when I got the complaint.        So I'm kind

   20        of thinking that's when my contact was with him, but

   21        it may have been another time too.        I'm not sure.

   22             Q     Earlier I believe you testified that the

   23        time you spoke to Mr. Ficken and had this 30-second

   24        conversation was the first time you spoke to him

   25        about this violation; is that correct?




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     1            A     That's what I believe, yes.

     2            Q     All right.    And I think you also testified

     3       that that took place on August 20th; is that

     4       correct?

     5            A     I'm not sure because I'm looking here that

     6       it was July 5th of 2018.        I'm thinking that's when I

     7       got the complaint from a neighbor or what sounded

     8       like a neighbor.

     9                  MR. MORA:    Would it help if you reviewed

   10             the note.     You're answering and

   11             contemporaneously reading.        Do you want to take

   12             a moment to read the two documents that have

   13             been provided to you?

   14                   THE DEPONENT:    Yeah.

   15                   MR. MORA:    Just to alleviate some of the

   16             confusion.

   17                   MR. WARD:    Sure.

   18                   THE DEPONENT:    Yeah.

   19                   MR. WARD:    Honestly, sir, I'm not trying

   20             to confuse you.

   21                   THE DEPONENT:    Yeah.

   22                   MR. WARD:    It looks to me like you were

   23             there on July 5th and you spoke to him on

   24             August 20th.

   25                   THE DEPONENT:    Yeah.




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     1                   MR. WARD:    Please take as long as you like

     2            to look through it.

     3                   THE DEPONENT:    Okay.    Well, I only recall

     4            speaking to him at the property one time, and I

     5            believe that was on my first contact on

     6            July 5th.      I could be wrong.

     7       BY MR. WARD:

     8            Q      Okay.    Is it reflected anywhere that you

     9       know of written down that you spoke to Mr. Ficken on

   10        July 5th?

   11             A      I don't think it is in my notes.      I'm

   12        looking at my case notes.        I don't think it's in

   13        there.

   14             Q      And it is reflected in the meeting minutes

   15        that you spoke to Mr. Ficken on August 20th; is that

   16        correct?

   17             A      Yes.

   18             Q      And the meeting minutes are from

   19        September 4th, 2018; is that correct?

   20             A      Correct.

   21             Q      Okay.    And fair to say on September 4th,

   22        2018, you could remember back into the summer of

   23        2018 when you spoke to Mr. Ficken, correct?

   24                    MR. MORA:    Form.

   25                    THE DEPONENT:    I would think so.




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     1       BY MR. WARD:

     2            Q       Okay.   Let me show you a couple more

     3       documents just in case it helps with your memory.

     4                    MR. MORA:   And if you need a moment to

     5            review them, just take your time.

     6                    THE DEPONENT:   Okay.

     7                    MR. WARD:   I've changed my mind about

     8            that.

     9       BY MR. WARD:

   10             Q       In the middle paragraph in the meeting

   11        minutes, do you see the sentence where it says "he

   12        submitted photographs taken" and then it lists some

   13        dates in July and August?

   14             A       Yes.

   15             Q       Do you take from that that you were at the

   16        Lady Marion Lane property for at least 11 times in

   17        the --

   18             A       The photographs are an accurate depiction

   19        of me being there, correct.

   20             Q       At the times you were there, did you see

   21        the long grass sort of causing any trouble beyond

   22        the fact that it was long itself?

   23                     MR. MORA:   Form.

   24                     THE DEPONENT:   Causing trouble?

   25




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     1       BY MR. WARD:

     2            Q       Did you see any rats in the grass?

     3            A       No.

     4            Q       Did you see any snakes in the grass?

     5            A       No.     Never got out of my car.

     6            Q       Did you see a sinkhole?

     7            A       No.

     8            Q       Did you see any other problems that the

     9       grass was causing beyond the fact of it being long

   10        itself?

   11             A       No.

   12                     MR. MORA:     Form.

   13        BY MR. WARD:

   14             Q       Okay.     Were you taking pictures of door

   15        postings at this time?

   16                     MR. MORA:     Form.

   17                     THE DEPONENT:     Sometimes I would, but, you

   18             know, it was a matter of routine at every case

   19             and I felt that my testimony is sufficient as

   20             opposed to having a photograph of every posting

   21             because it was something that I did on every

   22             case.

   23        BY MR. WARD:

   24             Q       Do you know if you took any photographs of

   25        posting on Mr. Ficken's property?




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     1            A     I don't recall if I did or not.

     2            Q     So, putting some of your testimony

     3       together, can you point me to anything that shows

     4       that you told Mr. Ficken about the violation before

     5       August 20th?

     6            A     Other than I believe I was there on

     7       July 5th, like I testified to earlier, and I thought

     8       that was the day that he was there in his driveway

     9       when I made contact with him.

   10             Q     If that date was August 20th, is there

   11        anything that would indicate that you told him about

   12        the violation before August 20th?

   13             A     No.

   14             Q     I'd like to show you a couple photographs

   15        from that summer.

   16                   Can you tell me what this is?

   17             A     It appears to be the property in question

   18        that we're here about today, Mr. Ficken's property

   19        on Lady Marion.

   20             Q     Does this appear to be one of the photos

   21        that you took?

   22             A     Yes.

   23             Q     And what's the date on it?

   24             A     July 19th of 2018.

   25             Q     I'll show you another photo which I guess




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     1       will be Exhibit 4.

     2                  What is this document?

     3            A     July 25th, 2018.    It appears to be

     4       Mr. Ficken's residence on Lady Marion.

     5            Q     Does this also appear to be a photo you

     6       took as part of your code enforcement duties?

     7            A     Yes.

     8            Q     So, just comparing these two photos,

     9       Exhibit 3 and Exhibit 4, from July 19th and

   10        July 25th, the length of the grass, the clippings on

   11        the lawn, did this grass get cut between July 19th

   12        and July 25th?

   13                   MR. MORA:   Form.

   14                   THE DEPONENT:   It still looks a little bit

   15             high in some parts on the 25th photo.

   16             Sometimes it's hard to tell by a photograph.

   17             Obviously July 19th is pretty high, but

   18             sometimes it's hard to tell.      It looks like

   19             there is pockets where there could be 10 inches

   20             or more on the July 25th photo.

   21        BY MR. WARD:

   22             Q     I'm not asking if it was in compliance

   23        with the code on July 25th.

   24             A     Okay.

   25             Q     I'm just asking if compared to July 19 it




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     1       was cut?

     2               A      Yes.     It appeared to have been cut, yes.

     3               Q      If you go back to Exhibit 1, the case

     4       notes, can you read the first history entry for

     5       July 5th, 2018, where it says "RSLT TEXT"?

     6               A      "Received several complaints of

     7       overgrowth.       This grass was cut on August 21st of

     8       2018.       This is a repeat violation."

     9               Q      Could you please keep going.

   10                A      "May 5th, 2015.     This property was in

   11        violation from July 5th of 2018 through August 20th

   12        of 2018.       The grass was cut on August 21st, 2018."

   13                Q      When did you write that entry?

   14                A      I don't know the exact date.     I don't

   15        recall.

   16                Q      Does the date to the right where it says

   17        8/22/18 indicate that that entry was written on

   18        August 22nd, 2018?

   19                A      I don't recall.

   20                Q      Well, let me ask you this.     Could this

   21        entry have been written on July 5th?

   22                A      I don't know how it could be because I'm

   23        talking about something that happened after

   24        July 5th.

   25                Q      Right.




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     1                  It talks about things that happened on

     2       August 21st, right?

     3            A     Right.

     4            Q     So this entry just must have been written

     5       on or after August 21st?

     6            A     I would say that's a safe bet.

     7            Q     Okay.    Just checking.

     8            A     Okay.

     9            Q     Just to confirm again, Mr. Ficken -- I

   10        shouldn't say him.

   11                   The lawn was mowed on August 21st, 2018,

   12        correct?

   13             A     It appears to be, yes.

   14             Q     Okay.    And that's the day after the

   15        August 20th conversation referred to in the meeting

   16        minutes, correct?

   17             A     Correct.

   18             Q     Okay.    Since the property was in

   19        compliance on August 21st, how does it achieve

   20        compliance to issue a notice of violation on

   21        August 22nd?

   22                   MR. MORA:    Form.

   23                   THE DEPONENT:    I'm not sure I did.     Oh, I

   24             think in this case it was in compliance and out

   25             of compliance, maybe.      There was some dates




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     1            that broke up.        It was out of compliance in

     2            parts of July and parts of August.        So I'm not

     3            sure.

     4       BY MR. WARD:

     5            Q       In the third from the last photograph in

     6       the meeting minutes it says that when they were at

     7       the property on August 31st, 2018, they found the

     8       property was once again not in compliance; is that

     9       right?

   10             A       Uh-huh.     (Indicates affirmatively).

   11             Q       And August 22nd when you issued the

   12        violation is before August 31st?

   13             A       Correct.

   14             Q       So you wouldn't have known on August 22nd

   15        that the property was out of compliance on

   16        August 31st, correct?

   17             A       I don't recall that.

   18             Q       And, in fact, it's impossible, right?

   19             A       Right.

   20             Q       Okay.     So, if the property is in

   21        compliance on August 22nd, as of August 21st, how

   22        does it help with compliance to issue a notice of

   23        violation the next day after it came into

   24        compliance?

   25                     MR. MORA:     Form.




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     1                  THE DEPONENT:     I'm not sure I understand

     2            the question.     Could you --

     3       BY MR. WARD:

     4            Q     Well, would issuing a notice of violation

     5       make it more likely that Mr. Ficken would comply

     6       with code enforcement when he had already complied?

     7                  MR. MORA:    Form.

     8                  THE DEPONENT:     I'm not sure.   I don't

     9            understand the question again.

   10        BY MR. WARD:

   11             Q     What I'm trying to ask is, could telling

   12        him he had a violation encourage him to comply when

   13        he had already fixed the violation and was in

   14        compliance with the code?

   15                   MR. MORA:    Form.

   16                   THE DEPONENT:     I don't know how to answer

   17             that one either.      I'm missing it.   I don't

   18             understand what you're asking.

   19        BY MR. WARD:

   20             Q     Let me ask it this way.

   21                   You had a conversation with him that the

   22        meeting minutes reflect it was on August 20th where

   23        you asked him to cut the grass, correct?

   24             A     Okay.

   25             Q     Correct?




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     1               A       Yes.

     2               Q       And then he did cut the grass?

     3               A       Yes.

     4               Q       So, could issuing a notice of violation

     5       after that get him to comply with the code; could it

     6       do anything now that he was already complying with

     7       the code?

     8                       MR. MORA:   Form.

     9                       THE DEPONENT:   It seemed like that

   10                notification should have gone out before that

   11                date.

   12        BY MR. WARD:

   13                Q       Why do you say that?

   14                A       Because of the dates in the question from

   15        July 5th through August 20th.

   16                Q       Do you know why it didn't go out before

   17        that date?

   18                A       I do not.

   19                Q       Mr. Ficken or somebody -- I'll start over.

   20                        The grass was cut the day after you asked

   21        Mr. Ficken to cut it, correct?

   22                A       Well, once again, I thought my first

   23        contact with him was on July 5th when I received the

   24        complaint, so I really can't answer that.         I'm not

   25        sure.       I can only go by what the photographs depict.




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     1            Q     Okay.     What's written down from that time,

     2       the case notes, the meeting minutes, reflect that

     3       the grass was cut a day after you asked him to cut

     4       it on August 20th; is that correct?

     5            A     That's what it says in the notes, yes.

     6            Q     Do you think if the violation had gone out

     7       earlier he would have cut it earlier?

     8                  MR. MORA:     Form.

     9                  Go ahead.

   10                   THE DEPONENT:     I still think I was there,

   11             again, on July 5th when I had that

   12             conversation.      I'm pretty sure because I

   13             remember getting the complaint and we're pretty

   14             good about responding to complaints and

   15             responding the same day.      So that would have

   16             been the first day of the repeat violation,

   17             July 5th, when I took photographs.       I'm pretty

   18             sure that's my conversation.      Maybe I had two

   19             of them, I don't know, but I'm pretty sure I

   20             had that one that first time in hopes that we

   21             wouldn't have gotten to this point.

   22        BY MR. WARD:

   23             Q     But you can't point me to anywhere where

   24        it's written --

   25             A     No.     A lot of times --




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     1                    MR. MORA:     Sorry.    Let him finish his

     2               question just for the record.

     3                    THE DEPONENT:     I'm sorry.

     4                    MR. WARD:     It's all right.

     5       BY MR. WARD:

     6               Q    You can't point me to anything written

     7       down that reflects that that conversation did occur

     8       on July 5th?

     9               A    No.

   10                Q    Okay.     And you don't remember today that

   11        it occurred on July 5th, but you think it might

   12        have?

   13                A    Yes.     I think it was, yes.

   14                Q    But you don't remember that?

   15                A    No.     I'm pretty sure, but, you know, it's

   16        the best I can recall.

   17                Q    Do you know why notice didn't go out

   18        sooner?

   19                A    I do not.

   20                Q    Did you ever consider having the lawn

   21        mowed with a crew that you could use for that?

   22                     MR. MORA:     Form.

   23                     THE DEPONENT:     No.

   24        BY MR. WARD:

   25                Q    Why not?




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     1            A     Occupied property.    As a taxpayer of the

     2       City of Dunedin, I don't think our tax dollars

     3       should go to maintain private properties unless

     4       there was a specific need, like I testified earlier,

     5       a valid need for it or if there was some contact or

     6       communication with a property owner expressing their

     7       whatever is going on in their world, financial

     8       issues, health issues, et cetera.      No.

     9                  Also, to take that one step further, the

   10        case had been cited many times prior to this, so I

   11        didn't think this would warrant the City paying for

   12        this property to be cut.

   13             Q     In the second to last paragraph on that

   14        page of the meeting minutes it says that "it's a

   15        shame to get to this point over something as simple

   16        as cutting the grass, but, based on the history of

   17        the property with the same owner, the same

   18        violation, that the Respondent receive a daily

   19        repeat fine of $500 per day."

   20             A     Yes.

   21             Q     So you recommended that Mr. Ficken be

   22        fined $500 per day?

   23             A     Yes.

   24             Q     Why did you recommend that?

   25             A     Because of the past history of the same




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     1       thing ongoing.

     2            Q      Did you consider anything about him

     3       besides the history of this property?

     4            A      I didn't know anything about him.

     5            Q      So is that a "no" then?

     6            A      No.     I mean, if he called me, we would

     7       have had a discussion like I said many times during

     8       our conversation today.       If he had called me and

     9       communicated what was going on in his life, we would

   10        have dealt with that appropriately and worked with

   11        him like we do on many cases.

   12             Q      I just want to make sure I got that one

   13        right.

   14             A      Yeah.

   15             Q      When you were recommending the $500 fine,

   16        did you consider anything other than the history at

   17        this property?

   18             A      Those are the facts that I had to

   19        consider.    I didn't have any other facts to

   20        consider.

   21             Q      In the prior paragraph it's talking about

   22        going back to the property on August 31st, 2018.

   23                    Do you see that?

   24             A      Yes, I do.

   25             Q      Why did you go back?




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     1            A     Probably to see if it was in compliance.

     2            Q     Do you remember if you got any complaints

     3       after it was cut on August 22nd?

     4            A     I don't recall.      I do recall getting more

     5       than one complaint.    I don't know when they were,

     6       but they were around that time frame.

     7            Q     Does the case history reflect that there

     8       were any complaints after August 22nd, 2018?

     9                  MR. MORA:   Go through it to answer the

   10             question.

   11                   THE DEPONENT:     I do not see any.

   12        BY MR. WARD:

   13             Q     Okay.   When you were recommending the $500

   14        daily fine, did you factor in the violation was on

   15        grass?

   16                   MR. MORA:   Form.

   17                   THE DEPONENT:     Like I testified to

   18             earlier, I factored in the prior history for

   19             the same violation.       I think it was 12, maybe.

   20        BY MR. WARD:

   21             Q     I guess my question is, did it matter that

   22        the offense was on grass or was it just that there

   23        was a prior history of the same offense?

   24                   MR. MORA:   Form.

   25                   THE DEPONENT:     Prior history of complaints




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     1            received.

     2       BY MR. WARD:

     3            Q      Okay.    But not specifically that it was a

     4       violation for long grass?

     5            A      That was a violation, high grass.

     6            Q      Right.

     7                   What I'm asking is, were you considering

     8       that it was a violation for long grass or that it

     9       was the latest violation of a violation that had

   10        repeated?

   11             A      All of the above.    It was a violation for

   12        high grass and it was a repeat violation, so it kind

   13        of all factors in.

   14             Q      Did anything about the high grass part

   15        lead you to think that the fine should be $500?

   16             A      That doesn't enter into it.     If it's 10

   17        inches or more, it's a violation.      I don't know how

   18        to answer that any other way.

   19             Q      A violation is a violation?

   20             A      Correct.

   21                    MR. WARD:    Let's take a break.

   22                    (Whereupon, there was a break in the

   23             proceedings.)

   24        BY MR. WARD:

   25             Q      If you will get the meeting minutes.      You




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     1       will see it refers to you taking photographs on a

     2       couple different dates, July 5th, 12th, 17th, 19th

     3       and 25th and August 1st, 3rd, 8th, 14th, 16th and

     4       20th.

     5                     Do you see that?

     6               A     Yes.

     7               Q     Were you also inspecting the Lady Marion

     8       property on other days that summer besides those

     9       dates?

   10                A     No.    The photographs just depict the dates

   11        that I was there inspecting the property.

   12                Q     So, if a date is listed here, you were

   13        there that day and, if a date is not listed here,

   14        you were not there that day?

   15                A     Yes.    In cases like this where I have, for

   16        instance, it says July 5th, 12th, 17th, my testimony

   17        is always that I just have photographs of these

   18        dates.      I can't testify to the dates I don't have

   19        photographs for.

   20                Q     If you had spoken to a property owner on

   21        the first day of a violation and asked him to remedy

   22        that violation, would that typically be recorded in

   23        your testimony?

   24                      MR. MORA:    Form.

   25                      THE DEPONENT:    That's kind of a




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     1            hypothetical.     I mean, it would depend on if

     2            they were cited or not.        A lot of times we will

     3            have that conversation and we won't send a

     4            letter because the conversation is being done

     5            and the property owner may agree to get it done

     6            type thing.     So it's kind of a hypothetical, I

     7            guess.

     8       BY MR. WARD:

     9            Q     But if you do cite the owner and it ends

   10        up before the Code Enforcement Board, would your

   11        testimony typically reflect the first time you spoke

   12        to the owner?

   13                   MR. MORA:    Form.

   14                   THE DEPONENT:    It should.

   15        BY MR. WARD:

   16             Q     And was it your ordinary practice to speak

   17        to a violator when you noticed the violation if you

   18        could?

   19             A     In some cases.       Every case is different.

   20        It depends on the circumstances.

   21             Q     How does it depend?

   22             A     Well, if you were taking a photograph of

   23        the property and the property owner comes out and

   24        asks what you're doing, that's happened before.

   25             Q     Does that mean that you wouldn't talk to




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     1       the property owner unless he came out to talk to

     2       you?

     3              A     We don't have really the time to go up and

     4       knock on the door to make contact with a property

     5       owner.     Like I said, there have been times where a

     6       property owner would approach us if we're out front

     7       taking a photograph and they would ask what we're

     8       doing.     We've explained to them what we're doing,

     9       and that would begin a conversation of what the

   10        violation is.      In many cases they will say "I'll

   11        take care of it" and you're gone.

   12               Q     When you went back to Mr. Ficken's Lady

   13        Marion property on August 31st, did you know he was

   14        out of town?

   15               A     No.

   16               Q     Well, if you look at the sixth bullet

   17        point, can you read the first sentence of the sixth

   18        bullet, the one that starts "the property owner came

   19        into the City's office."

   20               A     "The property owner came into the City's

   21        office on Friday, August 24th of 2018 and asked for

   22        a continuance and they discussed the matter.        At

   23        which time he suggested the property owner have an

   24        attorney present for today.      He said he would be out

   25        of state.     The property owner was told he should




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     1       have someone speaking on his behalf.       On Monday,

     2       August 27th, 2018, the property owner dropped off an

     3       additional letter basically with the same content,

     4       and after that mailed the City Clerk another letter

     5       just recently provided to the Board."

     6               Q   So did you know then on August 31st that

     7       Mr. Ficken would be out of state?

     8               A   I do recall him coming into the office and

     9       providing us with documents, so I guess.       I'm not

   10        sure.

   11                Q   So you went to reinspect his property on

   12        August 31st knowing that he wasn't there?

   13                A   Correct.

   14                Q   If you issued a second notice of violation

   15        for a property, would that typically be in the case

   16        notes?

   17                A   All notices of violations would be in the

   18        case notes, yes.

   19                    MR. WARD:   Off the record for one second.

   20                    (Discussion off the record.)

   21        BY MR. WARD:

   22                Q   Okay.   Do you remember any other times you

   23        recommended a $500 daily fine for tall grass?

   24                    MR. MORA:   Form.

   25                    THE DEPONENT:   I don't recall.    I may




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     1             have.

     2       BY MR. WARD:

     3             Q       I think you said earlier that you didn't

     4       recommend $500 daily fines often; is that correct?

     5             A       Correct.

     6             Q       Fair to say then you recommended $500

     7       daily fines for tall grass even less often?

     8                     MR. MORA:   Form.

     9                     THE DEPONENT:   I would say that would be

   10              accurate.

   11        BY MR. WARD:

   12              Q       Can you remember any other times you did

   13        it?

   14              A       Probably with, like I mentioned earlier,

   15        rehab properties, working without permits, that type

   16        of thing, those kind of cases, and maybe a swimming

   17        pool type case.      I don't remember the exact cases.

   18              Q       Can you remember any other $500 fines for

   19        tall grass?

   20              A       I do not recall.

   21              Q       And you said you started working for the

   22        City in about April or May of 2015; is that right?

   23              A       Correct.

   24              Q       And left at the end of 2019?

   25              A       Yes.




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     1            Q       And so you were a code inspector there

     2       for --

     3            A       Going on five years.

     4            Q       Okay.   In that going on five years, this

     5       is the only $500 fine for long grass that you can

     6       remember that you recommended?

     7            A       That I can recall.

     8            Q       Can you recall any other $500 daily fines

     9       for long grass that the Board issued?

   10             A       No.

   11             Q       Let's say it's the end of the day in the

   12        field, you have enough violations that you need to

   13        get back because you got to write them up and, you

   14        know, you see two violations, one is an overgrown

   15        lawn and the other one is a vacant house that's

   16        falling into disrepair.

   17                     If you can only write up one, which would

   18        you write up?

   19                     MR. MORA:   Objection.

   20                     THE DEPONENT:   Okay.    How overgrown is it?

   21                     MR. MORA:   Which house has his wife in it?

   22                     THE DEPONENT:   You know, that's a judgment

   23             call.     How overgrown is it and does it really

   24             jump out at you, is it vacant property, does it

   25             appear open, are there open windows.        I mean,




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     1            it would depend on --

     2       BY MR. WARD:

     3            Q       Can you look at the photograph that I gave

     4       you from July 19th.

     5            A       Yeah.

     6            Q       Let's say the grass in my hypothetical is

     7       that long.

     8            A       Yeah.

     9            Q       And, yes, the windows are open in the

   10        vacant house.

   11             A       Yeah.   I would send a letter for that.

   12             Q       Over sending a letter for the vacant

   13        house?

   14             A       Oh, for the vacant house?

   15             Q       Yeah.   If you have to pick one.

   16             A       Are they on the same street?

   17             Q       Yeah.   They're across the street from each

   18        other.

   19             A       I'm going to do both.

   20             Q       What if you had to pick one?

   21             A       I wouldn't pick one.    I would do both.

   22                     MR. MORA:   You're presented with a

   23             hypothetical.

   24                     THE DEPONENT:   Oh.

   25                     MR. MORA:   Answer the hypothetical.




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     1                  My objection stands as to the whole line

     2            of questioning as to the hypothetical.

     3                  Assume the parameters that they have given

     4            you and answer.

     5                  THE DEPONENT:      Okay.   Can you ask it

     6            again?

     7                  MR. WARD:   Yes.

     8       BY MR. WARD:

     9            Q     On the one side is a house with grass as

   10        long as that July 19th photo and on the other side

   11        is a vacant house with the windows open and you can

   12        only write up one.

   13                   Which would you write up?

   14                   MR. MORA:   Again, just objection.

   15                   THE DEPONENT:      That is really a tough one

   16             to answer because it wouldn't be fair to either

   17             property owner or it wouldn't be fair to me

   18             doing my job to just say I'm just going to do

   19             that one and not that one.        I know what I would

   20             do.   I know what I told you earlier.       I don't

   21             know how I could just pick one.        I think if it

   22             got to that point I wouldn't pick either one.

   23             I don't know.

   24        BY MR. WARD:

   25             Q     Better to treat them the same than to pick




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     1       one?

     2               A   I try to do that all the time.     I try to

     3       be fair.    Correct.

     4                   And if I can give you an example --

     5               Q   Sure.

     6               A   It would be like somebody calling and

     7       saying "hey, there is a boat out here, it's been out

     8       here for a while," I drive down the street and I see

     9       the boat and across the street there is another boat

   10        or down the street there is another boat.       I would

   11        do all of them because that's part of being fair.          I

   12        wouldn't be going there because -- we get accused of

   13        targeting people and singling people out, which is

   14        false.

   15                    So, in that regard, that's how we

   16        operated.    If we got a complaint on a street for

   17        whatever the violation, we would typically do that

   18        entire street, and if we observed another violation

   19        we would cite for that violation.

   20                Q   What is just your reaction to somebody

   21        getting fined about $30,000 for having an overgrown

   22        lawn?

   23                    MR. MORA:   Objection.

   24                    You can answer.

   25                    THE DEPONENT:     My reaction is it's pretty




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     1               sad that we have to continue to send someone a

     2               letter to cut their grass.   It shouldn't even

     3               get to this point.   Very simple solution.      Keep

     4               your property maintained, keep your grass cut

     5               like I do, like you do, like we all do.

     6                    I always thought it was kind of silly that

     7               we had -- I always make jokes about it -- to

     8               send adults a letter to cut the grass.     It

     9               seems kind of silly in a way because you

   10                shouldn't have to tell responsible property

   11                owners to cut their grass -- I mean, that's

   12                just my opinion -- or maintain their property

   13                or take their car out of the driveway that's up

   14                on jacks, obvious things that you shouldn't

   15                have at your property.

   16        BY MR. WARD:

   17                Q    And once you get to that point, if the

   18        fine is that high, you didn't follow the law?

   19                A    That's above my paygrade, the fines.       I

   20        mean, the fines that are entered into our job, my

   21        job, I try to avoid them at all cost.       I try to

   22        avoid cases going to the Code Enforcement Board at

   23        all cost.     I personally went out of my way to avoid

   24        that.

   25                     That's why, like the letter says, the




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     1       process would be, if somebody simply picked up the

     2       phone and said, "This is going on in my world, A, X,

     3       Y, Z.       I need X amount of time."

     4                      "Fine.   How much time do you need?"

     5                      If the communication begins, you know, the

     6       compliance stage kind of goes away and we then begin

     7       to work with that person because we all want the

     8       same thing, compliance.        We're not looking to take

     9       people to the Code Enforcement Board.

   10                       Quite frankly, I was trying to get out of

   11        it because it was more work for all of us.          It's

   12        more costly for the City.          Personally, my view was,

   13        if I could avoid that, I did and I did it a lot.

   14        Once again, there has to be a call made to

   15        facilitate that communication and work toward a

   16        resolution.

   17                Q      But you did take Mr. Ficken to the Code

   18        Enforcement Board after he mowed his lawn?

   19                A      Right.

   20                Q      So you weren't avoiding taking someone to

   21        the Code Enforcement Board in that instance?

   22                       MR. MORA:   Form.

   23                       THE DEPONENT:   That's a different set of

   24                circumstances in this case.

   25




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     1       BY MR. WARD:

     2              Q      Does it bother you that he was fined $500

     3       a day and the guy you mentioned earlier who was

     4       accused of running a meth lab was only fined $250 a

     5       day?

     6                     MR. MORA:   Objection.

     7                     THE DEPONENT:   I didn't cite for a meth

     8              lab.    I don't have any authority to enforce any

     9              criminal activity.     That particular one you're

   10               talking about, he was cited for those

   11               violations and went to the Code Enforcement

   12               Board, he was found not in compliance and he

   13               was fined the maximum amount of $250 a day.

   14        BY MR. WARD:

   15               Q      Would you raise the fine above $500 a day

   16        if you could?

   17               A      No.

   18                      MR. MORA:   Objection.

   19        BY MR. WARD:

   20               Q      Why not?

   21               A      It's not my call.   Above my paygrade.

   22        It's state law, from what I understand.          That's just

   23        not my -- that's not my call.          My call when I was

   24        there was to enforce code enforcement cases and try

   25        to get them to some resolution.




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     1            Q     But what if it were your call; what if you

     2       could change; would you?

     3                  MR. MORA:     Objection.

     4                  THE DEPONENT:     Change it to what?

     5       BY MR. WARD:

     6            Q     I'm asking would you have that maximum be

     7       higher?

     8                  MR. MORA:     Objection.

     9                  THE DEPONENT:     Okay.    I think every case

   10             is unique, every case has it's own set of

   11             circumstances.      There are people that we've

   12             dealt with that just do not want to do the

   13             right thing.      It happens in this world, whether

   14             it be code enforcement, whether it be criminal

   15             stuff, and we have people that are very

   16             anti-government for whatever reason.         They

   17             don't feel that government should be telling

   18             them what to do with their property.

   19                   So, in that regard, what do you tell

   20             people nextdoor that are calling complaining

   21             about it that have to live nextdoor to it.

   22             We're thrown in the middle of these cases and

   23             have to deal with them, and at the end of the

   24             day sometimes we're like out there by ourselves

   25             because it's not a good -- you know, any time




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     1            you're doing enforcement, as I said earlier,

     2            you're not very popular, and I get that.        It's

     3            part of the job, which I understand.       I got

     4            pretty thick skin.

     5                  When it rises to this level like this case

     6            here, like why we're here today, the way it was

     7            reported, fake news, I'll call it exactly what

     8            it was, that generated so many complaints.         Not

     9            just to me.    I can take care of myself, but we

   10             have females in the office who are on the

   11             receiving end of a lot of these calls, people

   12             screaming profanity of the way this was

   13             reported, it rises to a different level.        It's

   14             unfortunate it got to this point, but that's

   15             the property owner that has to answer for that,

   16             not the City of Dunedin, in my opinion.

   17        BY MR. WARD:

   18             Q     Sorry.   Was that last part that the

   19        property owner, Mr. Ficken, should answer for the

   20        publicity this case has generated?

   21             A     That's not what I said.     I'm just stating

   22        facts that have occurred since this case was

   23        publicized.    The calls that I personally got,

   24        messages that I got, the calls that other people in

   25        my office got that were threatening in nature, laced




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     1       with profanity, people screaming.          I had one guy

     2       call me from a 305 area code.

     3                      "I'm coming to your house tonight."

     4                      I called him back.

     5                      I said, "Hey."

     6                      It went to a voice mail.

     7                      I said, "This is so and so calling you

     8       back.       Come on over.     What time are you coming

     9       over?"

   10                       That's just a small example of what we

   11        dealt with since this case, which is very

   12        unfortunate.

   13                Q      I'm sorry to repeat myself, but do you

   14        think there are ever long grass cases where somebody

   15        deserves more than a $500-a-day fine?

   16                       MR. MORA:     Objection.

   17                       THE DEPONENT:     That's state law.    That's

   18                not my call.       I don't set the fine schedule.      I

   19                don't have anything to do with that.         That's

   20                not what we did in our role as code

   21                enforcement.

   22        BY MR. WARD:

   23                Q      If the fines changed, if they were legally

   24        different, would you think anything different about

   25        fine recommendations or notices of violation?




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     1                    MR. MORA:   Objection.

     2                    THE DEPONENT:     I don't know how to answer

     3            that other than I would continue to do my job

     4            as specified and as the law required.

     5       BY MR. WARD:

     6            Q       Like if the fine for the maximum daily

     7       fine for a repeat violator was $1,000 a day and

     8       maybe sometimes for long grass you would recommend

     9       that; that's also the law?

   10                     MR. MORA:   Objection.

   11                     You can answer.

   12                     THE DEPONENT:     But in every case I was

   13             very aware of the financial impact it had on

   14             people and I was very concerned about it.

   15        BY MR. WARD:

   16             Q       In recommending the fine in this case,

   17        which was part about $23,000 and then the other part

   18        is still open, that's factoring in financial

   19        concern?

   20                     MR. MORA:   Form.

   21                     THE DEPONENT:     That's factoring the

   22             history of the previous violations of ongoing

   23             for however many years that you have all that

   24             data.

   25




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     1       BY MR. WARD:

     2            Q       Do you think the Board has ever issued a

     3       fine that was too high?

     4                    MR. MORA:   Objection.

     5                    You can answer.

     6                    THE DEPONENT:     I don't recall.   They're

     7            very understanding.         They listen to people.    A

     8            lot of times they don't go with our

     9            recommendations, they will go lower.         All I can

   10             say in that regard is that I think they're very

   11             fair and they try to work with people just as

   12             much as we do.

   13        BY MR. WARD:

   14             Q       Did they ever go above your

   15        recommendations?

   16             A       Yes, they have.

   17             Q       Did you read -- stop me if you don't know

   18        what I'm talking about -- the USA Today story about

   19        fines here in town?

   20                     MR. MORA:   Form.

   21                     THE DEPONENT:     Is that where they compared

   22             this case to the police shooting in St. Louis?

   23                     MR. WARD:   I don't believe so.     I'm not

   24             sure.

   25                     THE DEPONENT:     He read one in USA Today,




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     1            and I don't understand the correlation to that.

     2       BY MR. WARD:

     3            Q     The part I'm thinking of -- I don't know

     4       if we're talking about the same article -- talked

     5       about a woman being fined about $100,000 because her

     6       pool was green.

     7                  Does that sound too high?

     8                  MR. MORA:   Objection.

     9                  THE DEPONENT:     I would have to know all

   10             the circumstances and facts on that.       I'm not

   11             aware of those.

   12        BY MR. WARD:

   13             Q     Well, the basic story was that she gave

   14        her keys back to the bank, but she still had title

   15        for a bit and the violation started while she still

   16        had title and then title transferred, but the

   17        violation was still open and so she ended up owing

   18        about $100,000.

   19                   Does that help?

   20                   MR. MORA:   Objection.

   21                   THE DEPONENT:     Oh, I recall part of it,

   22             but there is a mechanism in place.       The

   23             mechanism would be a telephone or coming into

   24             the office and going this is my situation and

   25             explain the situation to get it resolved, and




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     1            that happened a lot.        We're very understanding

     2            to that and we listen.

     3                  So there is mechanisms in place that would

     4            avoid someone being in that circumstance, and

     5            it comes back to being a responsible person,

     6            responsible property owner.

     7                  MR. MORA:     Andrew, it's your deposition,

     8            but if we're going to continue on like a

     9            philosophical debate on the cases outside of

   10             what's at issue in this case, you know, I'm

   11             just going to keep objecting.

   12                   MR. WARD:     That's fine.    We won't continue

   13             for long.

   14                   MR. MORA:     Okay.

   15                   MR. WARD:     A couple minutes.

   16        BY MR. WARD:

   17             Q     Are you aware of whether Mr. Ficken tried

   18        to get in touch with the City to resolve things?

   19             A     Oh, there was some communications and so

   20        forth, I believe.      There was some contact.

   21             Q     In fact, he did that before the

   22        September 4th meeting; is that correct?

   23             A     I believe so.

   24             Q     Okay.

   25             A     But, once again, if you're out of town,




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     1       there is plenty of lawn services.       You can pick up

     2       the phone and say "hey, can you please cut my

     3       grass."    So there is ways to avoid these

     4       circumstances, in my opinion.

     5            Q      Do you know who Ann Lokey is?

     6            A      Yes.

     7            Q      She's a woman -- tell me if any of this is

     8       wrong -- who is, you know, elderly, a widow, was

     9       dealing with cancer, owes about $85,000.

   10                    MR. MORA:     Is that a question for the

   11             deponent?

   12        BY MR. WARD:

   13             Q      The question is, does the fine sound too

   14        high in that circumstance?

   15                    MR. MORA:     Objection.

   16                    You can answer.

   17                    THE DEPONENT:     I can tell you about the

   18             case, right.       Mrs. Lokey is a collector of

   19             stuff.    I don't want to call her a hoarder

   20             because some people have a problem with that.

   21             Many complaints to the point where cars in the

   22             driveway are disabled, one van in particular.

   23             Every car is full of stuff.       Early on, and

   24             again this is inaccurate reporting because I

   25             sent an email to Mr. Rice about this after it




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     1            came out to tell him about the case, but early

     2            on prior to the citing of Ms. Lokey I had a

     3            conversation with her.

     4                  "You need to get this place cleaned up.

     5            We will provide you with a dumpster free of

     6            charge.   I will get you some people to help

     7            clean up."

     8                  If you know anything about hoarding, I

     9            learned a lot about hoarding, they don't like

   10             to get rid of stuff, they don't like people

   11             touching their stuff.     All of those requests

   12             went unanswered and it continued.       She came to

   13             the hearing and nothing changed.       It's still --

   14             it just went on.

   15                   So another example of a person not taking

   16             responsibility to cleaning up their property.

   17             I can tell you that I think it was the last

   18             time I posted the property I actually fell

   19             trying to get to the front door climbing over

   20             stuff.

   21                   On one visit to her property I said, "Can

   22             I go look in your backyard?"

   23                   She said, "Sure.    I have a lot of stuff

   24             back there."

   25                   I went, "Okay."




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     1                    So, as we're walking back there, I said,

     2            "You must have a lot of rats."

     3                    She said, "No.     I have a lot of big black

     4            snakes."

     5                    I go, "I'm out.     Goodbye.   Have a nice

     6            day."

     7                    I don't like snakes.

     8                    But that's the story in that.      That's the

     9            rest of the factual part.        Once again we get

   10             portrayed to be the bad guy when we're

   11             basically just doing our job and the pictures

   12             tell the story if you see the pictures.

   13                     So that is another example of where that

   14             offer was extended to Ms. Lokey.         For whatever

   15             reason she didn't take us up on it to help her

   16             clean up and it continues.

   17        BY MR. WARD:

   18             Q       And in that circumstance then $85,000, in

   19        your opinion, is not too much?

   20                     MR. MORA:   Objection.

   21                     You can answer.

   22                     THE DEPONENT:     That's above my paygrade.

   23             That's not for me to decide.

   24        BY MR. WARD:

   25             Q       Did you hear about the consulting study




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     1       that just came out that the City commissioned?

     2            A     I heard about it.

     3            Q     Did you hear anything about it or read it?

     4                  MR. MORA:    Objection.

     5                  THE DEPONENT:     Skimmed through it.

     6       BY MR. WARD:

     7            Q     Did you see where it said that some of the

     8       fines are outrageous?

     9            A     I don't recall that specifically.       Like I

   10        said, I just skimmed through it.

   11             Q     I'll show it to you.

   12             A     Yeah.   I believe you.    I mean, you don't

   13        have to show it to me.     I believe you.

   14             Q     Well, in that case -- so the City hires an

   15        outside consulting firm.      They say some of the fines

   16        are outrageous.

   17                   What do you think about that?

   18                   MR. MORA:    Objection.

   19                   You can answer.

   20                   THE DEPONENT:     What do I think about

   21             outrageous fines?

   22        BY MR. WARD:

   23             Q     What do you think about the firm that the

   24        City hired concluding that some of the fines at

   25        issue are outrageous?




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     1            A       Which cases were they talking about?

     2                    MR. MORA:    Objection.

     3                    You can continue.

     4                    MR. WARD:    They don't refer to specific

     5            ones.

     6                    THE DEPONENT:     I can't answer that.

     7       BY MR. WARD:

     8            Q       Did you see that they recommended an

     9       amnesty program of lower fines to $1,000?

   10             A       Yeah.   I think that would be a good idea.

   11             Q       Why do you think it would be a good idea?

   12             A       Like I have been telling you today, we

   13        work with people all the time, and there are people

   14        that really need help, whether it be financial

   15        issues, health issues.       I've reiterated that many

   16        times today.

   17                     Again, I'm looking to work with people.

   18        That's my background, you know, fixing problems, not

   19        making them worse.       So I agree with that.   I think

   20        that would be a good option.

   21             Q       Do you think it would be fair if instead

   22        of being fined the current amount Mr. Ficken -- if

   23        his fines were reduced to $1,000?

   24                     MR. MORA:    Objection.

   25                     You can answer.




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     1                  THE DEPONENT:     I think you have to look at

     2            all the factors of the case.        You have to look

     3            at all the circumstances.        Every case is

     4            different.    Every case is unique.

     5       BY MR. WARD:

     6            Q     I'm asking about this case.

     7                  Do you think it would be fair if instead

     8       of his current fines, his fines were $1,000?

     9                  MR. MORA:    Renewed.

   10                   You can answer.

   11                   THE DEPONENT:     I'm hesitant to put a

   12             dollar sign on it other than discussing that

   13             all the prior violations were the same thing

   14             over and over again and the complaints were the

   15             same thing.     So I can't really put a dollar

   16             figure on it.

   17        BY MR. WARD:

   18             Q     Well, but it sounds like you think the

   19        $30,000 is fair.

   20                   MR. MORA:    Form.

   21        BY MR. WARD:

   22             Q     Is that right?

   23             A     It's a lot of money in my book.       I can't

   24        answer if it's fair or not.        I really can't.    I know

   25        what you're asking, but I can't say if it's fair or




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     1       not.       Again, it shouldn't have gotten to this point.

     2              Q       I gotcha.

     3              A       So that's my beef.

     4                      MR. WARD:   Let's take a break.

     5                      (Whereupon, there was a break in the

     6              proceedings.)

     7                      MR. WARD:   Thank you for your time.

     8                      THE DEPONENT:     Yes, sir.

     9                      MR. WARD:   We are almost wrapped up.

   10                       THE DEPONENT:     Okay.

   11        BY MR. WARD:

   12               Q       The meeting minutes reflect that you were

   13        at Mr. Ficken's on July 5th, 12th, 17th, 19th and

   14        25th and August 1st, 3rd, 8th, 14th, 16th and 20th.

   15               A       Yes, sir.

   16               Q       Were you there any other days between

   17        July 5th and August 22nd?

   18               A       I don't recall.     The only way for me to

   19        know for sure is if I took a photograph on that

   20        particular date or if it's noted in my case file.

   21               Q       Okay.   Did you consider the financial harm

   22        of the fine you were recommending in this case?

   23                       MR. MORA:   Form.

   24                       THE DEPONENT:     Yeah.   I consider it to be

   25               a lot of money for something in my opinion




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     1            that's very simple to correct.

     2       BY MR. WARD:

     3            Q       Did you want it to sting given the history

     4       at this property?

     5                    MR. MORA:   Form.

     6                    THE DEPONENT:   Of course not.     I'm not

     7            wired that way.

     8       BY MR. WARD:

     9            Q       So what did you want it to do?

   10                     MR. MORA:   Form.

   11                     THE DEPONENT:   Cut his grass.

   12        BY MR. WARD:

   13             Q       Do you remember any other repeat tall

   14        grass fines?

   15             A       I think you asked that earlier.      I don't

   16        recall.

   17             Q       Just to be clear, I'm not asking about

   18        other ones $400 or $500.         Just any other repeat tall

   19        grass fines.

   20                     MR. MORA:   Form.

   21                     THE DEPONENT:   Oh, I think there were.

   22             Yeah.     I think there were.

   23        BY MR. WARD:

   24             Q       Do you know about how much those fines

   25        typically were?




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     1            A      I don't remember.      As you know, there is a

     2       Code Enforcement Board hearing once a month and, as

     3       you guys know, we always had a pretty big calendar

     4       of cases.    I don't recall.

     5            Q      But, since you don't remember any others

     6       that were $500, it's fair to say they were typically

     7       not $500 per day?

     8                   MR. MORA:   Form.

     9                   THE DEPONENT:     Well, there may have been.

   10             I'm sorry.     There may have been, but I just

   11             don't remember.     I can say that it's unusual,

   12             especially a property that we cited this amount

   13             of time is unusual.        This is the only one that

   14             I can recall that we've had that many cases at.

   15             I don't recall any others like this one, if

   16             that helps you.

   17        BY MR. WARD:

   18             Q      And the $500 for a repeat tall grass is

   19        also unusual?

   20                    MR. MORA:   Form.

   21                    You can answer.

   22                    THE DEPONENT:     Well, once again, it's

   23             state law, I believe, that regulates the fine.

   24        BY MR. WARD:

   25             Q      So is it the case that repeat fines for




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     1       tall grass are typically not $500 fines?

     2                      MR. MORA:    Form.

     3                      THE DEPONENT:     It would depend on the

     4              circumstances of the property, amount of cases

     5              prior to, is it vacant.          There is a lot of

     6              factors that would enter into play, so I don't

     7              know.

     8       BY MR. WARD:

     9              Q       I'm not asking you to predict a particular

   10        one.

   11               A       Right.

   12               Q       Just in general they weren't generally as

   13        high as $500 a day, were they?

   14               A       In general, no.       I would say that's a fair

   15        statement.

   16               Q       Okay.    Why do you think you had a -- you

   17        said you may have had a conversation with Mr. Ficken

   18        on July 5th.

   19                       Why do you think that?

   20               A       Because, like I said earlier, I got a

   21        complaint about the property being overgrown and I

   22        responded that same day.            That was the day that I

   23        was there when I started taking the pictures, so

   24        that's the date I thought it was.

   25               Q       But you also testified earlier that




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     1       typically you don't get out of your car; is that

     2       correct?

     3              A     Correct.

     4              Q     So is there a reason you particularly

     5       think that this first day had a conversation on it?

     6              A     I'm pretty sure it was that day because I

     7       believe he was standing in his driveway when I

     8       pulled up.     So I'm pretty sure it was that first

     9       day.

   10               Q     I'd like to show you what will be

   11        Colbert 5, I believe.

   12                     Can you tell me what this appears to be?

   13               A     It looks like an American Airlines form in

   14        the name of James Ficken, itinerary information.

   15               Q     Do you see the third and fourth entries

   16        down; do those look to you like flights on May 19th,

   17        2018, from Tampa to CLT Airport and then from CLT to

   18        CAE?

   19               A     It appears to be, yes.

   20               Q     Do you happen to know what the airport

   21        codes are?

   22               A     I do know some.         Tampa, TPA.   What's the

   23        other one.     CAE.     CLT.   No.     I don't know what those

   24        are.

   25               Q     It's not a quiz.         Sorry.   One is Charlotte




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     1       and one is Columbia.

     2            A       Okay.   All right.    Okay.

     3            Q       What's the status listed in that column

     4       for those two flights?

     5            A       Under --

     6            Q       Under the status column, second from the

     7       right.

     8            A       It says "used."

     9            Q       Fair to say then that this document says

   10        that Jim Ficken used a ticket from Tampa to Columbia

   11        on May 9th, 2018?

   12             A       I have no idea if he went there or not.

   13                     MR. MORA:   Sorry.    May 9th is not correct.

   14                     MR. WARD:   All right.    I'm going to start

   15             that one over.

   16        BY MR. WARD:

   17             Q       Does this document say that Jim Ficken

   18        used a ticket to go from Tampa to Columbia,

   19        South Carolina, on May 19th, 2018?

   20             A       It appears to, yes.

   21             Q       Okay.   I'm going to show you one more,

   22        Colbert 6.

   23                     Could you tell me what this is?

   24             A       It appears to be the same type of document

   25        American Airlines in the name of James Ficken.




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     1       Itinerary information.

     2               Q      The first two flights there, fair to say

     3       this document reflects Mr. Ficken using a plane

     4       ticket back from Columbia to Tampa on July 19th

     5       2018?

     6               A      Yes.

     7               Q      If Mr. Ficken was away from Tampa and near

     8       Columbia from May 19th, 2018, to July 19th, 2018,

     9       could you have spoken to him on July 5th, 2018?

   10                       MR. MORA:    Form.

   11                       You can answer.

   12                       THE DEPONENT:     I don't recall what date it

   13                was.

   14        BY MR. WARD:

   15                Q      You don't recall the date that you had

   16        that first conversation with him?

   17                A      No.

   18                Q      And the date in the meeting minutes of

   19        that conversation is August 20th?

   20                A      Right.

   21                       MR. WARD:    I think we're all done.

   22                       MR. MORA:    I got some questions.

   23                                CROSS-EXAMINATION

   24        BY MR. MORA:

   25                Q      Randy Mora on behalf of the City of




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     1       Dunedin.

     2                   Mr. Colbert, I've got a few limited

     3       questions based on some of the testimony you've

     4       given today.

     5                   Is one of the purposes of code enforcement

     6       to address concerns of life, safety, health and

     7       wellness?

     8              A    Yes.

     9              Q    Did you see that as a function of your

   10        job?

   11               A    Yes.

   12               Q    Mr. Colbert, I want to turn your attention

   13        to -- you were shown two photographs.       They were

   14        Colbert 3 and Colbert 4.

   15                    Do you remember seeing those, sir?

   16               A    Yes.

   17               Q    The line of questioning concerned the

   18        difference in the condition of the grass on those

   19        two days; do you remember that?

   20               A    Yes.

   21               Q    During that discussion there was some

   22        questioning suggesting the grass was slightly

   23        shorter in Colbert 4 than in Colbert 3; do you

   24        remember that?

   25               A    Yes.




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     1               Q   Is it possible that the grass was cut, but

     2       not cut to a height that was in compliance?

     3               A   Possible.

     4               Q   Looking at these two photographs alone,

     5       are you capable of determining to what height the

     6       grass was cut in between the image taken in

     7       Colbert 3 and the image taken in Colbert 4?

     8               A   I can't ascertain the height, but it's

     9       clearly been cut.       There is difference in height.

   10                Q   In Colbert 4 there was mention made of

   11        what appear to be grass clippings in the photo; do

   12        you see that?

   13                A   Yes.

   14                Q   Does it appear whatever grass was cut was

   15        left in place?

   16                A   Appears to be.

   17                Q   Sir, if a resident is out of town, does

   18        that excuse them from complying with the City's

   19        code?

   20                A   No.

   21                Q   In your capacity as a code enforcement

   22        inspector, do you personally directly assess fines

   23        against individual properties?

   24                A   No.    That's a decision made by the Code

   25        Enforcement Board.




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     1              Q   But, as a code inspector, were the Code

     2       Enforcement Board considering whether to assess a

     3       fine, you would make a recommendation as to a fine,

     4       correct?

     5              A   Correct.

     6              Q   And your recommendation would be for a

     7       daily sum; is that correct?

     8              A   Correct.

     9              Q   Did you ever recommend aggregate sums, say

   10        I recommend this property is assessed a charge of

   11        $15,000, for example?

   12               A   No.   It goes by a daily fine.

   13               Q   The last two images you were shown were --

   14        I failed to mark which one was Colbert 5 and

   15        Colbert 6 on my papers, but appear to be two --

   16                   MR. WARD:    Five is the earlier flights.

   17                   MR. MORA:    -- itineraries.

   18                   Thank you.

   19        BY MR. MORA:

   20               Q   Have you ever seen these documents before

   21        today, sir?

   22               A   No, I have not.

   23               Q   Are you an employee of American Airlines,

   24        sir?

   25               A   No, I am not.




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     1            Q     Are you custodian of American Airlines'

     2       records?

     3            A     No.

     4            Q     Are you in any way able to authenticate

     5       the accuracy or legitimacy of this record?

     6            A     No.

     7            Q     In the records and getting to their actual

     8       content, in Colbert 5 there was a discussion -- the

     9       second two entries indicate a flight from Tampa to

   10        what's been represented to you as Columbia, the

   11        city, not the country, on May 19th, 2018.

   12                   Do you see that on Colbert 5?

   13             A     Yes.

   14             Q     And then on Colbert 6 almost exactly maybe

   15        two months to the day a returning flight from

   16        Columbia to Tampa; do you see that?

   17             A     Yes.

   18             Q     Looking at these two records alone, are

   19        you capable of ascertaining whether Mr. Ficken

   20        returned to Tampa and back to Columbia in between

   21        those two flight dates?

   22             A     No.

   23                   MR. MORA:   I have nothing further.

   24                   Do you have anything else?

   25                   MR. WARD:   One quick one.




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     1                            REDIRECT EXAMINATION

     2       BY MR. WARD:

     3               Q     At the September 4th meeting, you

     4       recommended a $500-a-day penalty for a violation

     5       that was 48 days long and then another one that was

     6       open, correct?

     7               A     Yes.

     8               Q     For the 48-day violation could you have

     9       figured out the aggregate fine at $500 per day at

   10        the time of this meeting?

   11                A     Could I have figured out what it would

   12        cost?

   13                Q     What a fine of $500 per day for 48 days

   14        would be?

   15                A     I guess I could have figured out the

   16        total.      I don't know if I calculated it.

   17                      MR. WARD:    That's it.

   18                      THE DEPONENT:    Read.

   19                      (Whereupon, the deposition was concluded

   20                at 4:50 p.m.)

   21                      (Exhibits 1 through 6 were marked for

   22                identification.)

   23

   24

   25                                   * * * * *




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     1                           ERRATA SHEET
     2       INSTRUCTIONS: Please read the original transcript
             of your deposition and make note of any errors in
     3       transcription on this page. DO NOT mark on the
             original transcript itself. Please sign and date
     4       this sheet and then kindly return the transcript to
             the court reporter. Thank you.
     5
             PAGE            LINE             CORRECTIONS/AMENDMENTS
     6
             ____________________________________________________
     7
             ____________________________________________________
     8
             ____________________________________________________
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             ____________________________________________________
   15
             ____________________________________________________
   16
             ____________________________________________________
   17
             ____________________________________________________
   18
             I have read the original transcript, and except for
   19        any corrections and/or amendments noted above, I
             hereby subscribe to the transcript as an accurate
   20        record of the statements made by me.
   21
   22                                  DEPONENT -----------------
   23                                  DATE: --------------------
   24
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   25




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     1                      WITNESS' SIGNATURE PAGE

     2

     3                      I have read the foregoing pages,

     4                      and, except for any changes or

     5                      amendments I have indicated on the

     6                      sheet attached for such purposes,

     7                      I hereby subscribe to the accuracy

     8                      of this transcript.

     9

   10                      ______________________________

   11                      THOMAS COLBERT

   12                      ______________________________

   13                      DATE

   14                      ______________________________

   15                      WITNESS TO SIGNATURE

   16

   17

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     1                          CERTIFICATE OF OATH

     2

     3       STATE OF FLORIDA

     4

     5       COUNTY OF PINELLAS

     6

     7            I, the undersigned authority, certify that

     8       Thomas Colbert personally appeared before me and was

     9       duly sworn.

   10

   11             WITNESS my hand and official seal this 9th day

   12        of March, 2020.

   13                              /s/ KATHERINE A. LYLE

   14                               ___________________________

   15                               Katherine A. Lyle

   16                               Notary Public - State of Florida

   17                               My Commission Expires:     1/20/23

   18                               Commission No.:     GG260915

   19

   20

   21

   22

   23

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     1                       REPORTER'S CERTIFICATE
     2
     3       STATE OF FLORIDA
     4       COUNTY OF PINELLAS
     5
                  I, Katherine A. Lyle, Registered Professional
     6            Reporter, certify that I was authorized to and
                  did stenographically report the Deposition of
     7            Thomas Colbert; that a review of the transcript
                  was requested; and that the transcript is a
     8            true and complete record of my stenographic
                  notes.
     9
                  I further certify that I am not a relative,
   10             employee, attorney, or counsel of any of the
                  parties, nor am I a relative or employee of any
   11             of the parties' attorney or counsel connected
                  with the action, nor am I financially
   12             interested in the action.
   13
                  Dated this 9th day of March, 2020.
   14
   15                              /S/ KATHERINE A. LYLE
                                   _______________________________
   16
                                   Katherine A. Lyle
   17
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